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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



 YANG RENBIN, ROBERT ANGELINE,                  Case No. 2:20-CV-04457-ES-CLW
 COREY HAYS, AND ALEXANDRE
 TAZI, Individually and On Behalf of All
 Others Similarly Situated,                     SECOND AMENDED CLASS ACTION
                                                COMPLAINT FOR VIOLATIONS OF
                                 Plaintiffs,    THE FEDERAL SECURITIES LAWS
      v.
                                                JURY TRIAL DEMANDED
 GSX TECHEDU INC., LARRY
 XIANGDONG CHEN, NAN SHEN, XIN
 FAN, YIMING HU, MING LIAO, CREDIT
 SUISSE SECURITIES (USA) LLC,
 DEUTSCHE BANK SECURITIES, INC.,
 BARCLAYS CAPITAL, INC., BOFA
 SECURITIES, INC., CLSA LIMITED,
 AND GOLDMAN SACHS (ASIA) L.L.C.,

                                  Defendants.
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          Court-appointed Lead Plaintiff Yang Renbin (“Lead Plaintiff”) and Additional Plaintiffs

 Robert Angeline, Corey Hays and Alexandre Tazi (collectively, “Plaintiffs”), by and through

 undersigned counsel, bring this federal securities class action individually and on behalf of all

 other persons and entities (the “Class”1) that purchased or otherwise acquired the publicly-traded

 American Depositary Shares (“ADSs”), evidenced by American Depositary Receipts (“ADRs”),

 of GSX Techedu, Inc. (now renamed Gaotu Techedu Inc.) (“GSX,” “GSX Techedu” or the

 “Company”) from June 6, 2019 through October 20, 2020 inclusive (the “Class Period”),

 including those who purchased ADSs in or traceable to the Company’s initial public offering on

 or about June 6, 2019 (the “IPO”), or GSX’s secondary public offering on or about November

 20, 2019 (the “SPO”), and were damaged thereby.

          Plaintiffs’ claims are asserted under the Securities Exchange Act of 1934 (the “Exchange

 Act”).    As alleged in this Complaint, Defendants (defined in Section III(B), infra) issued

 materially false and misleading registration statements and prospectuses for the June 2019 IPO

 and November 2019 SPO and, throughout the Class Period, also made a series of statements that

 the Defendants knew, or recklessly disregarded the risk that such statements, were materially

 false or misleading at the time the statements were made, and omitted material information

 necessary to make the statements, in light of those material omissions, not materially false or

 misleading.



 1
   The following are excluded from the Class: (1) Defendants; (2) members of the immediate
 family of any Defendant who is a natural person; (3) any person who was an officer or director
 of the Company during the Class Period; (4) any firm, trust, corporation, or other entity in which
 any Defendant has or had a controlling interest; (5) the Company’s employee retirement and
 benefit plan(s), if any, and their participants or beneficiaries; and (6) the legal representatives,
 affiliates, subsidiaries, parents, heirs, heirs apparent, successors-in-interest, or assigns of any
 such excluded person or entity.



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        Plaintiffs’ claims are brought upon personal knowledge as to their own acts, and upon

 information and belief as to all other matters, based upon, among other things, a review and

 analysis of (1) reports and documents filed by GSX with the U.S. Securities & Exchange

 Commission (“SEC”); (2) reports issued by analysts covering or concerning GSX and its

 business; (3) press releases, news articles, transcripts, and other public statements issued by or

 about GSX, its business, and the Defendants; (4) an investigation conducted by Plaintiffs’

 attorneys, including interviews with numerous confidential witnesses (“CWs”), including former

 GSX employees (as detailed further in Section VIII, infra); (6) consultations with experts; and

 (7) other publicly available information concerning GSX, its business, and the allegations

 contained herein. Plaintiffs believe that substantial additional evidentiary support exists for the

 allegations herein and will continue to be revealed after Plaintiffs have a reasonable opportunity

 for discovery.

                                      I.    INTRODUCTION

        1.        This is a federal securities class action against GSX, its two senior-most

 executives, and the underwriters who facilitated GSX’s entry and continued access to the public

 market in the United States, seeking damages and other legal and equitable remedies to redress

 harms caused by Defendants’ violations of Sections 10(b) and 20(a) of the Exchange Act, 15

 U.S.C. §§ 78j(b) & 78t(a), and of SEC Rule 10b–5, 17 C.F.R. § 240.10b–5.

        2.        GSX is a Chinese company that offers online education classes to students in

 grades K-12 in China. GSX routinely represents that its “core expertise” is in providing K-12

 educational and after-school tutoring courses in China through an “online live large-class

 format.”

        3.        GSX is a fraudulent company. Astoundingly, the vast majority of GSX’s student

 enrollment and revenues are simply fake. GSX falsifies at least 70% of its student enrollment


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 and revenues through (among other means) the sophisticated use of “bots.” A “bot” is a software

 application that runs automated tasks, such as making a dinner reservation, adding an

 appointment to a calendar or fetching and displaying information. More advanced bots, such as

 chatbots, can simulate human conversation. GSX uses bots to enroll fake identities and social

 media accounts into its classes, to login to those classes, and even to ask questions and

 participate in the classes. GSX also uses its teachers and tutors to create false accounts to inflate

 its student enrollment. On an unprecedented scale, GSX tried to fake it until it made it.

        4.      The evidence that GSX is mostly a fake company is overwhelming and

 undeniable. First, expert analyses of GSX’s login data reveals patterns and anomalies that

 cannot arise through ordinary human login behavior—anomalies that, in the opinion of experts,

 can only plausibly be explained as bots pretending to be human students. Plaintiffs consulted an

 expert in computer science and in detection of bots who analyzed data and conclusions published

 by third-party researchers.    The expert independently concluded that, based on anomalies

 described in the data, at least 70% of GSX’s users are non-human bots. Second, numerous

 confidential witnesses independently confirm in detail that GSX Techedu’s student enrollment

 figures are grossly inflated by its use of bots to fake student users. Third, multiple public job

 postings by GSX recruited employees who had the skills necessary to “jailbreak” phones—skills

 that would be necessary to run massive cellphone-based bot operations, and that would be

 wholly unnecessary for a legitimate online education company. Fourth, GSX Techedu’s too-

 good-to-be-true growth, which according to GSX’s figures vastly outpaces that of its

 competitors, would place GSX alone with Google as the fastest growing companies in the past

 30 years—a ridiculous conclusion given that its growth cannot be explained by any competitive

 advantage or other legitimate reason. Fifth, objective data show that GSX’s education services




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 are not used or recognized consistent with the Company’s spectacular representations about its

 user base and revenues—virtually no one has heard of GSX Techedu in China. Finally, evidence

 makes clear that GSX hides its expenditures on falsifying users through bots as advertising and

 capital expenditures.

        5.       As GSX is mostly a fake company, much if not most of what GSX told investors

 constituted actionable misrepresentations under securities law.        Centrally, GSX repeatedly

 overstated the size of the growth in its student enrollment figures and its revenues and profits.

        6.       Upper management either knew that their Company was mostly fake, or were so

 astoundingly reckless in not knowing that their recklessness amounts to scienter. Indeed, among

 the strongest evidence of, at a minimum, the severe recklessness of the Company and of the

 Individual Defendants comes from their own statements. The Individual Defendants and other

 representatives of the Company specifically and repeatedly denied that they were engaged in

 inflating or “brushing” student enrollment figures and other specific conduct detailed in this

 Complaint. These specific, blanket denials of the particular fraudulent practices at issue, often in

 direct response to questions from investors, constitutes powerful evidence, at a minimum, of

 recklessness.

        7.       Equally as compelling, Defendant Shen’s job responsibilities included knowing

 and understanding each line item the Company’s budget and knowing the items on which the

 Company actually spent its budget. As much of GSX’s “marketing” expenses were spent on

 brushing to fake student enrollment and simulate student logins, Shen clearly knew about the

 Company’s brushing activity. Likewise, Shen’s job responsibilities included knowing how

 student enrollment figures were calculated. As the majority of enrollments were calculated

 based on falsified student enrollments, Shen clearly knew that the Company was inflating its




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 student enrollment figures. That 70% or more of the Company’s core operations were simply

 fake further supports a strong inference of scienter, as do numerous additional supporting

 allegations.

        8.      Based on its known or reckless misrepresentations about its student enrollment,

 revenue and profit figures, GSX exploded in market capitalization from around $6 billion to over

 $30 billion in only 2.5 months, an explosion totally out of line with its competitors and

 inexplicable by reference to any known competitive advantage. As the truth about GSX’s fraud

 emerged over a series of disclosures, including disclosure of independent research revealing the

 fraud, the disclosure of an SEC investigation, and most recently reports recognizing that the

 Companies’ student enrollment and revenue figures are wildly off, GSX’s share price has fallen

 dramatically. GSX’s fraudulent, brazen gambit has cost Plaintiffs and other investors massive

 damages.

                              II.    JURISDICTION AND VENUE

        9.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

 Act, 15 U.S.C. §§ 78j(b) & 78t(a) and pursuant to the rules and regulations duly promulgated

 thereunder, including SEC Rule 10b–5, 17 C.F.R. § 240.10b–5.

        10.     This Court has exclusive subject-matter jurisdiction of all claims asserted herein

 pursuant to Section 27 of the Exchange Act, id. § 78aa, and original subject-matter jurisdiction of

 all claims asserted herein pursuant to 28 U.S.C. § 1331.

        11.     Venue is proper in the District of New Jersey pursuant to Section 27 of the

 Exchange Act, id. § 78aa, because Defendants transact business in this District. Venue is also

 proper in this District pursuant to 28 U.S.C. §§ 1391(b)–(d) because many of the acts and

 transactions that constitute the violations of law complained of in this Amended Complaint,




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 including the dissemination to the public of materially false or misleading statements, occurred

 in this District.

         12.         In connection with the acts, omissions, conduct, and other wrongs alleged herein,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate and foreign

 commerce, including, but not limited to, the U.S. mails, the facilities of the national securities

 markets, through international and interstate data and wire transfers, and international and

 interstate telephonic and digital communications.

                                             III.   PARTIES

         A.          Plaintiffs

                     1.     Lead Plaintiff Yang Renbin

         13.         As set forth in their Private Securities Litigation Reform Act (“PSLRA”)

 certifications, Lead Plaintiff Yang Renbin purchased or otherwise acquired GSX securities on

 the New York Stock Exchange (“NYSE”) during the Class Period and was thereby damaged.

                     2.     Additional Plaintiff Robert Angeline

         14.         Additional Plaintiff Robert Angeline purchased or otherwise acquired GSX

 securities on the NYSE during the Class Period and was thereby damaged, as stated in Mr.

 Angeline’s certification and Exhibit A to Notice of Motion of Robert Angeline to Appoint Lead

 Plaintiff and Approve Lead Plaintiff’s Selection of Counsel, ECF No. 6-5 (June 16, 2020).

                     3.     Additional Plaintiff Corey Hays

         15.         Additional Plaintiff Corey Hays purchased or otherwise acquired GSX securities

 on the NYSE during the Class Period and was thereby damaged, as stated in Mr. Hays’s

 certification and Schedule A, filed with this Amended Complaint as Exhibit A.




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               4.      Additional Plaintiff Alexandre Tazi

        16.    Additional Plaintiff Alexandre Tazi purchased or otherwise acquired GSX

 securities on the NYSE during the Class Period and was thereby damaged, as stated in Mr. Tazi’s

 certification and Schedule A, filed with this Amended Complaint as Exhibit B.

        B.     Defendants

               1.      GSX Techedu, Inc. (“GSX,” “GSX Techedu” or the “Company”)

        17.    Defendant GSX (now renamed Gaotu Techedu Inc.) is a Cayman Islands

 company limited by shares, with principal executive offices located at Tower C, Beyondsoft

 Building, 7 East Zone, 10 Xibeiwang East Road, Haidian District, Beijing 100193, China.

 During the Class Period, the Company’s securities traded in an efficient market on the New York

 Stock Exchange under the ticker symbol “GSX.”

        18.    Defendant GSX is liable for the acts of its executives, directors, officers, and

 agents at common law and under the doctrine of respondeat superior because all the wrongful

 acts and omissions complained of in this Amended Complaint were carried out during and within

 the scope of each such person’s employment. The scienter of GSX’s executives, directors,

 officers, and agents is similarly imputed to GSX under established agency principles.

               2.      Individual Defendants

        19.    Defendant Larry Xiangdong Chen (“Chen”) founded GSX and served as GSX’s

 Chairman and Chief Executive Officer at all relevant times. Before establishing GSX in 2014,

 Chen was the President of GSX’s competitor, New Oriental Education & Technology Group,

 Inc. (“New Oriental”). Chen works out of GSX’s Beijing headquarters.

        20.    Defendant Shannon “Nan” Shen (“Shen”) has served as GSX’s Chief Financial

 Officer since December 2018. Before joining GSX, Shen was the Chief Financial Officer of

 China SinoEdu Co., Ltd. (“SinoEdu”), which specialized in English as a Learned Language


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 (“ELL” or “ESL”) courses, from November 2017 through November 2018. Between February

 2012 and November 2017, Shen held several positions at PricewaterhouseCoopers. On April 2,

 2018, during Shen’s tenure at SinoEdu, SinoEdu was accused publicly of failing to pay its

 instructors and for mishandling their instructors’ visa sponsorships. Shen works out of GSX’s

 head office in Beijing.

        21.     All references to “Individual Defendants” are to Chen and Shen, jointly and

 severally.

        22.     The Individual Defendants possessed the power and authority to control the

 contents of GSX’s SEC filings, press releases, and other market communications.              The

 Individual Defendants were provided with copies of GSX’s SEC filings and press releases

 alleged in this Complaint to be misleading prior to or shortly after their issuance and had the

 ability and opportunity to prevent their issuance or to cause them to be corrected. Because of

 their positions with GSX, and their access to material information available to them but not to

 the public, the Individual Defendants knew that the adverse facts specified in this Complaint had

 not been disclosed to and were being concealed from the public, and that the positive

 representations being made were then materially false and misleading.            The Individual

 Defendants are liable for the false statements and omissions pleaded herein.

        23.     All references to the “Defendants” in this Amended Complaint are to GSX, Chen,

 and Shen, jointly and severally.

                              IV.   SUBSTANTIVE ALLEGATIONS

        A.      Company Background

                1.         Company Operations

        24.     During the Class Period, GSX was an education company whose stated mission is

 to “[m]ake education better through technology.” During the Class Period, GSX represented that


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 its “core expertise” is in providing K-12 educational and after-school tutoring courses in China

 through an “online live large-class format.”

        25.     GSX’s2 K-12 courses cover various academic subjects, including mathematics,

 English, Chinese, physics, chemistry, biology, history, geography, and political science. GSX

 also provides English courses for children in kindergarten, and courses that help children in

 grade one through grade seven. In addition, GSX offers foreign language courses comprising

 English, Japanese, and Korean, as well as English test preparation courses for students taking

 post-graduate entrance exams, and professional courses primarily for working adults preparing

 for professional qualification exams. Further, GSX offers personal interest courses, such as

 yoga, fashion, guitar, and Chinese calligraphy.

        26.     GSX operates “Weishi,” an interactive learning platform on WeChat through

 which it advertises and delivers its K-12 courses. “WeChat” is a widely-used Chinese multi-

 purpose messaging, social media and mobile payment app developed by Tencent Holdings Ltd.

                2.     GSX’s Revenue Is Based Primarily on Its K-12 Student Enrollments

        27.     Throughout the Class Period, GSX has routinely stated that its revenues are

 directly attributable to, and depend in significant part upon, recruiting new students and

 generating enrollments. During each earnings call and in each quarterly report that GSX issued

 throughout the Class Period, the Company attributed the reported increases in net revenue to

 corresponding increases in paid course enrollments.




 2
   This Complaint refers to GSX’s Class Period activities in the present tense. After the close of
 the Class Period, the PRC government issued new rules curtailing the business of for-profit K-12
 education companies like GSX. GSX currently earns most of its revenues from adult education,
 although its operations are in flux.



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        28.     Defendant Shen expressly noted the percentage of revenue from K-12 courses

 each quarter during the Class Period, and note that growth in this area was the primary reason for

 the growth in the Company.

        29.     Specifically, in 2Q2019, net revenue from K-12 courses accounted for 76.4% of

 net revenues; in 3Q2019 net revenue from K-12 courses accounted for 82% of net revenues; in

 4Q2019 net revenue from K-12 courses accounted for 83% of net revenues; in 1Q2020 net

 revenue from K-12 courses accounted for 86% of net revenues; and in 2Q2020 net revenue from

 K-12 courses accounted for 84% of net revenues.

        30.     During a teleconference with investors May 6, 2020 at 12:00 GMT, Defendant

 Shen stated that GSX’s “K-12 revenue growth has exceeded 400% each quarter since we went

 public.” Defendant Shen also stated: “The continued growth of gross billings from new paid

 enrollments also explains why our revenue is consistently able to increase both on a year-over-

 year and quarter-over-quarter level.”

        31.     Accordingly, GSX has represented consistently that the revenues generated from

 its K-12 course enrollments accounted for over 80% of all net revenues for the Company

 throughout the Class Period.

        32.     As alleged in detail below, GSX did not disclose that it falsified more than 70% of

 its reported K-12 course enrollment numbers throughout the Class Period. Accordingly, as the

 revenues generated from its K-12 course enrollments accounted for over 80% of all net revenues

 for the Company throughout the Class Period and as over 70% of those enrollments were

 falsified, the Company falsified over half of its total revenues throughout the Class Period.




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        B.      The Company Has Repeatedly Falsified More than 70% of Its K-12 Student
                Enrollment and More Than Half of Its Revenues

                1.     Expert Analysis of Anomalies in the Company’s Course Login Data
                       Shows that 70% of the Company’s Students Are “Bots”

        33.     Dr. Craig Knoblock is an expert in computer science and “bots.” He is the Keston

 Executive Director of the Information Sciences Institute, Research Professor of Computer

 Science & Spatial Science, and Vice Dean of Engineering at the University of Southern

 California and the co-founder and chief scientist of Fetch Technologies, a bot-driven data mining

 enterprise. He is a Fellow of the Association for the Advancement of Artificial Intelligence and

 the Association of Computing Machinery. In the past, Dr. Knoblock’s research has centered on

 examining and establishing techniques for describing, acquiring, and exploiting the semantics of

 data through, among other things, source modeling, schema alignment, ontology alignment,

 entity linking, data cleaning, information extraction, and web data extraction. Dr. Knoblock has

 authored more than 400 peer-reviewed journal articles, book chapters, and conference and

 workshop papers. From 2007 through 2015, Dr. Knoblock served as Trustee of the International

 Joint Conferences on Artificial Intelligence; as President of the International Joint Conferences

 on Artificial Intelligence from 2011 through 2013; and as Past President of the International Joint

 Conferences on Artificial Intelligence from 2013 through 2015. On July 29, 2014, he was

 awarded the Robert S. Engelmore Memorial Lecture Award from the Association for the

 Advancement of Artificial Intelligence. In his role as chief scientist at Fetch Technologies, Dr.

 Knoblock developed systems that make extensive use of bots to mine data from websites. In

 perfecting such systems, Dr. Knoblock has developed and employed techniques to avoid

 automatic bot detection by, among other things, making the bots act more like humans. Plaintiffs

 have consulted with, and base their allegations in part on, the expert factual analyses of, Dr.

 Knoblock.


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        34.     Plaintiffs engaged Dr. Knoblock to conduct an independent assessment of user

 login data published by the research firm Muddy Waters and of conclusions Muddy Water’s

 drew from these data in Muddy Waters May 18 and 28, 2020 published research reports.

        35.     Dr. Knoblock analyzed sign-in statistics from data taken by Muddy Waters from

 Genshuixue and Gaotu users, and concluded from this data that it is highly likely that 70% or

 more of GSX Techedu’s purported sign-in records are not from human students, but are instead

 records generated by “bots” signing in to the classes automatically. In reaching his conclusion,

 Dr. Knoblock reviewed the data analyses detailed in the May 18 and May 28, 2020 reports by

 Muddy Waters. Dr. Knoblock took the facts and data as stated in these reports to be true (they

 are), and reached his conclusions independently based on those facts.

        36.     According to Dr. Knoblock and Muddy Waters, four anomalies appear in the

 Company’s class login data that are best explained by the Company’s systematic use of bots to

 falsify student logins. First, more than half of users joined the classes at the exact same second

 prior to the start of class on different weeks (“Same-Second, Different-Week” joiners) (or they

 can be linked to one of these users by either joiner at the same time or from the same IP address).

 For example, a student who joined a class at 1:22:38PM one week, and then joined at 1:22:38PM

 one or more different weeks is a Same-Second, Different-Week joiner. Second, nearly one-third

 of students logged into the classes using the same IP address a teacher or tutor used (“Student-

 with-Teacher-IP” joiners). As GSX has no physical classrooms where devices could be shared

 in person, that one-third of students should share the same IP address as a teacher can only be

 explained by teachers and tutors logging in pretending to be students on their phones or

 computers using bot software. Third, large groups of users routinely join at the same second

 more than five minutes before or after the start of a class (“Burst” joiners). These bursts often




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 take place in the midst of little or no other joining activity. These bursts are best explained as

 cell phones in bot farms signing on automatically in tandem as fake students. Fourth, nearly one

 in seven users login to online classes implausibly early—thirty minutes or more before the start

 of class. While one might expect, for various unusual reasons, that one or two students in a large

 class might log in this early, that one in seven students would log in more than thirty minutes

 before class defies the experience of anyone familiar with student life.

        37.     Muddy Waters found that these anomalies alone are associated with greater than

 70% of the users. Dr. Knoblock likewise concluded that the four anomalies are associated with

 at least 70% of the users, such that at least 70% of the students purporting to login to GSX

 classes are highly likely, and certainly more likely than not, to be fake—according to Dr.

 Knoblock, at least 70% of the logins are best explained as bots rather than human users.

        38.     The data Muddy Waters used in its analysis were 463,217 sign-on records for

 54,065 Genshuixue and Gaotu users across more than 200 paid K-12 classes in the first half of

 2020. Muddy Waters gathered the data included in its reports from publicly accessible sources.

 Gathering data from Gaotu100.com and Genshuixue.com required separate approaches. The

 Genshuixue.com platform has both a website and a desktop application that students can use.

 Once a user signs up and logs in, the user opens Google Chrome Developer tools, turns on the

 Network tab, switches to XHR and sees data being passed between the browser and the

 Genshuixe.com website. Inside of this data there is a wealth of information including archives of

 every class session purchased. This data was used to perform analyses of bot activity on both

 platforms.

        39.     Gaotu100.com is very similar in design and functionality to Genshuixue and

 shares domain names and resources with Genshuixue.             After setting up an account and




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 purchasing classes, some data in the browser becomes available to the user, and this data was

 included in the analyses. Additional data was gathered after installing the Gaotu100.com app on

 a phone and configuring the device to send data through an intercepting HTTP proxy. This

 method enabled collection of messages and data between the phone and the GSX servers, and

 revealed the path to the class data archives. After locating the class archives, the files for each of

 the purchased classes were downloaded and examined. The files included extensive information

 about the users, including User Number, Name, Alternate Name, Avatar, User Type (0,1,2),

 Course ID and/or Class ID (Gaotu only has Class ID’s), Class Join and Exit Times, and IP

 address.

        40.     The samples included over 200 paid K-12 classes purchased between January and

 March 2020, almost equally divided between Gaotu100.com and Genshuixue.com. The sample

 was randomly chosen, within these constraints. The classes spanned K-12 grade levels and

 subject matter. In total, the data set included 463,217 logins made by 54,065 unique users

 (students, tutors, and teachers). Gaotu was busier, accounting for approximately two-thirds of

 the logins.

        41.     Notably, the class data include User Numbers (which are also displayed in the

 class attendance records) and User Types.         By cross referencing the class data with data

 displayed in teacher and tutor pages on genshuixue.com, it can be determined that 100% of the

 teachers listed on the genshuixue.com were marked as Type 1 users, and 100% of the tutors

 listed on genshuixue.com were marked Type 2. As all Type 1 and 2 users are teachers or tutors,

 Type 0 records are student users. In this way, users may be identified as students, teachers or

 tutors. The dataset of users contained 29 Type 1s (teacher), 371 Type 2s (tutor), and 53,694

 unique Type 0s.




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                       a.      “Same-Second, Different-Week” Joiners

        42.     First, over half (52.8%) of the unique users in the sample were identified as bots

 because they are Same-Second, Different-Week Joiners, or are linked to them. Same-Second,

 Different-Week Joiners are users who join a class at same time—to the second—on the same day

 of at least two different weeks, and the users linked to them. Dr. Knoblock has opined that the

 probability of such a precise login happening two or more times for a single user in a single

 course is extremely low. In addition to the natural variability in the time at which a (human) user

 logs in, there are moment-to-moment differences in the way internet traffic and data within

 GSX’s own network flow that make logging in at the same precise second one or more weeks

 apart extremely unlikely unless attempted repeatedly through automation.           Muddy Waters

 provided a useful analogy: the phenomenon evidenced by Same-Second, Different-Week joiners

 is similar to a weekly flight from City A to City B touching down two or more times at exactly

 the same second.

        43.     Within the dataset of 54,065 unique users, Muddy Waters found 5,742 users

 (10.6%) whose logins record this Same-Second, Different-Week joining phenomenon. Note also

 that 100% of these Same-Second, Different-Week Joiners exhibited at least one of the other bot

 behaviors discussed below.

        44.     While most Same-Second, Different-Week Joiners recorded only one same-

 second, different-week join (two different occasions with logins at the same second), 1,261

 (21.6%) unique Same-Second, Different-Week Joiners recorded a same-second, different-week

 join on two or more occasions.




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         45.     These Same-Second, Different-Week Joiners are linked to 33,145 additional users

 who share the same distinct IP address and users who joined classes at the exact same moment

 (often as part of large bursts). After subtracting 10,342 duplicates, there are 28,545 total users

 (52.8%) that are Same-Second, Different-Week Joiners or linked to them, and so are likely on

 this basis to be bots.




                          b.   Student-with-Teacher-IP Joiners

         46.     Second, “Student-with-Teacher-IP Joiners” may be defined as purported student

 users that use the same IP address as a teacher or tutor. An IP address is a numerical label

 assigned to each unique device connected to a computer network that uses the Internet Protocol.

 Each IP address is associated with, for example, a single connected cell phone or laptop

 computer. 15,239 purported student users (28.2%) in the dataset logged into classes using the

 same IP address as a teacher or tutor on at least one occasion. As GSX has no physical

 classrooms where devices could be shared in person, that one-third of students should share the


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 same IP address as a teacher can only be explained by teachers and tutors logging in as students

 on their phones or computers using bot software. Adding Student-with-Teacher-IP Joiners to the

 count of unique users highly likely to be bots brings the total to 34,534 users, or 63.9%, after

 eliminating duplicate unique users.

        47.     Another 1,364 unique users are linked through shared IPs to these Student-with-

 Teacher-IP Joiners, bringing the total percentage of unique users identified this way to 16,603,

 which is 30.7%. In the dataset, there are 10,614 Student-with-Teacher-IP Joiners (63.9%) that

 are also Same-Second, Different-Week Joiners. Almost two-thirds of Student-with-Teacher-IP

 Joiners are also Same-Second, Different-Week Joiners, which reinforces the conclusion that

 these users are bots.




                         c.    Burst Joiners

        48.     Third, large groups of users routinely join at the same second, in “bursts,” more

 than five minutes before or after the start of a class (“Burst Joiners”). These bursts often take

 place in the midst of little or no other joining activity. These bursts are caused by cell phones in

 bot farms signing on automatically in tandem as fake students.

        49.     The Burst Joiner pattern for a given class can be visualized in a graph on which

 the vertical Y axis is time, broken into increments of one second, and the horizontal X axis is the

 number of unique user joining at that second. The horizontal white line represents the second at


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 which the class started—joining below the white line occurred after the start of class. Bursts of

 joining activity appear on the graph as three long horizontal lines, marked 1, 2, and 3. The data

 for the graph below comes from a class for a paid upper grade elementary school math course on

 the GSX platform that runs over several months. The below pattern is typical of the pattern for

 joining in classes in the dataset.




         50.     In Burst 1, 104 unique users joined during a four second period that began nine

 minutes 40 seconds before the start of class.

         51.     To be conservative, Muddy Waters’ analysis did not count bursts that occurred

 five minutes before class started through five minutes after class started, unless the logins

 exhibited some other bot behavior (including being a Same-Second, Different-Week Joiner).

 Accordingly, Muddy Waters largely excluded Burst 2 from its analysis.

         52.     Although Burst 3 occurs at four minutes seven seconds after class starts (within

 the five minute window), these joiners are counted as bots because during this three second

 window, among the 96 stragglers were three Same-Second, Different-Week Joiners that joined

 this particular class at the same second.

         53.     Dr. Knoblock has opined that Burst Joiners cannot be explained by reference to

 purported simultaneous automatic switching over of users from tutorial prep sessions to a main



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 class when the class begins. According to Dr. Knoblock, as the dataset shows, many of these

 joiners occur after the class has started, and only a very poorly designed automated bot would

 transition students from a tutorial prep session to a main class after the class has begun.

         54.     Moreover, Muddy Waters analyses specifically excluded users who joined within

 five minutes before or after the start of a class, unless other data indicated that the users were

 bots. Dr. Knoblock has opined that routine bursts of joiners well before the start of a class (more

 than five minutes) cannot plausibly be explained by any purported automated switching of users

 from tutorial prep sessions to a main class when the class starts because it is implausible that

 software engineers would design such automated switching to occur more than five minutes prior

 to the start of class, and for it to occur at different times for different tutors.

         55.     Dr. Knoblock has opined that GSX’s claim that automatic switching from tutorial

 prep sessions to the main classes explains Same-Second, Different-Week Joiner is also wrong.

 In a Chinese WeChat response to the Muddy Waters report, GSX stated that if a tutor has not

 switched the small class over by the start time of the large class, the system will automatically

 perform the switch. However, only 5,742 unique users were Same-Second, Different-Week

 Joiner, which was 10.6% of the sample. GSX states that such small class to large class switches

 are “typical”, and that there is an automatic switch for tutors that fail to switch by the class start

 time. If GSX’s explanation were accurate, then any student whose tutor failed to switch the class

 over by its start for at least two of their classes would be a Same-Second, Different-Week Joiner.

 They would account for far more than 10.6% of the sample.

                         d.       Early Joiners

         56.     Fourth, nearly one in seven users login to online classes implausibly early—thirty

 minutes or more before the start of class (“Early Joiners”). These Early Joiners are very likely to

 be bots. While one might expect, for various unlikely reasons, that one or two students in a large


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 class might on occasion log in this early, that one in seven students in every class would log in

 more than thirty minutes before class begins defies the experience of anyone familiar with

 student life or online meetings in general. For example, to log into a Zoom videoconference

 more than 30 minutes early would be highly unusual.

         57.    The total number of unique Early Joiners in the sample was 7,579 (14.0%), of

 which 3,676 (48.5%) exhibited at least one of the other assumed bot behaviors, which reinforces

 the value of early joining as an indicator of bots. After eliminating the duplicates from other

 categories of anomalies, there were 3,903 (7.2%) unique Early Joiners. If users that share Early

 Joiner IP addresses with Early Joiners are included, there are a total 4,143 unique Early Joiners

 (7.7%) in the dataset that do not exhibit additional bot behavior.

         58.    Dr. Knoblock has opined that Early Joiners cannot be explained as students

 logging into tutorial prep sessions that take place before the start of a class, as the login data in

 Muddy Waters’ dataset is login data for main classes rather than tutorial sessions.

         59.    Students enrolled in GSX are not likely to differ markedly from other Chinese

 students (or students in any classroom globally with which Plaintiffs are familiar) who do not

 exhibit this behavior of logging in or arriving to a class en masse half an hour early. The most

 plausible explanation is that these logins are not from humans, but rather from bots.

                        e.      Combined, These Analyses Show that at least 70% or More of
                                the Companies’ Users Are Bots

         60.    Muddy Waters found that these anomalies alone are associated with more than

 70% of the users. That is, under Muddy Waters analysis, more than 70% of the students

 purporting to login to GSX classes are highly likely, and certainly more likely than not, to be

 fake.




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          61.     Dr. Knoblock reached the same conclusion after independently reviewing Muddy

 Waters’ data. Dr. Knoblock concluded that the four anomalies are associated with at least 70%

 of the users, such that at least 70% of the students purporting to login to GSX classes are highly

 likely, and certainly more likely than not, to be fake—according to Dr. Knoblock, at least 70% of

 the logins are best explained as bots rather than human users.

          62.     Accordingly, more than 70% of GSX user logins are bots rather than human users

 and are falsified.

                  2.     Multiple Confidential Witnesses3 Confirm in Detail that GSX
                         Techedu’s Customer Base is Grossly Inflated by Its Use of Bots and
                         Other Methods to Falsify Student Enrollments

                         a.      CW-1

          63.     Confidential Witness 1 (“CW-1”), a former GSX “Android Engineer” who

 worked at GSX’s Beijing headquarters in the “Sales and Marketing” department from

 approximately April 10, 2019 through approximately June 20, 2020, has firsthand knowledge of

 GSX’s rampant use of bots to falsify student accounts and to use those accounts log into classes



 3
     To protect their anonymity, all Confidential Witnesses are given feminine pronouns.



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 at specified times. According to CW-1, the accounts also were used to write positive reviews

 about the courses.

        64.     According to CW-1, the Beijing headquarters consists of dozens of “mobile phone

 rooms,” each packed with shelves of “many thousands” of mobile devices. GSX employs, and

 actively recruits, hundreds of engineers at the Beijing headquarters, “unlike any ordinary

 education company.” CW-1 was paid directly by GSX to “brush” course enrollments.

        65.     CW-1’s role as an “Android Engineer” was twofold. She spent about one-quarter

 of her time harvesting user data from private WeChat accounts to be used to set up fake student

 enrollment accounts.        The other three-fourths of CW-1’s time was devoted to “reverse

 engineering codes” for Android mobile devices, and then reprogramming such devices with the

 codes that CW-1 generated. After programming a given device with a given code, it would

 execute specified commands automatically. Most devices were set up with the user data that

 CW-1 harvested from WeChat accounts and were programmed with bots that would

 automatically open WeChat with the stolen user data, enroll in GSX’s promotional courses, log-

 in to the classes at specified times, and then write positive reviews about the courses. A smaller

 number of devices were programmed to open WeChat and then send thousands of

 advertisements for GSX courses to random WeChat account users, others were programmed to

 “contact students” through WeChat, while still others “taught classes” on GSX’s Weishi

 platform.

        66.     According to CW-1, some of the Sales and Marketing personnel, including fellow

 “engineers,” also taught classes but did not have teaching credentials.

                        b.       CW-2

        67.     Confidential Witness 2 (“CW-2”) is a former GSX engineering manager who

 worked at GSX’s Beijing headquarters beginning in 2015, and has direct knowledge of all three


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 ways in which GSX falsified student enrollment figures. In her role as engineering manager,

 CW-2 directly supervised software engineers, among other responsibilities.

         68.     According to CW-2, GSX began using bots to “brush” enrollments in 2015. In

 that year, GSX had “few students,” but GSX “want[ed] the teachers to feel that there were

 many.” In a class of “just five students,” for example, GSX would enroll “500” bot-generated

 users, “letting the traffic volume become very big” so that the students and teachers would “feel

 that the platform’s volume was huge.”

         69.     CW-2 explained that, to accomplish this, throughout the Class Period GSX’s

 engineers installed a software known internally as “Group Control” through which GSX

 instructors and tutors remotely manipulated and programmed the behavior of registered student

 accounts. These accounts ran the software applications that other engineers, such as CW-2,

 installed on thousands of mobile phone devices, which became bot-controlled devices that GSX

 operated from its headquarters. According to CW-2, each of these bot-controlled devices is

 assigned to a registered mobile phone number, and GSX’s engineers assigned to each bot-

 controlled device a WeChat account number (which, in China, must be linked to a real person)

 and then programmed the bot-controlled device with the “Group Control” software and several

 other codes. When executed, these other codes caused the bot-controlled devices to purchase

 course enrollments, sign into and out of classes, create new student accounts, and send messages

 to other students, tutors, and instructors.

         70.     According to CW-2, more than half of the office space at GSX’s Beijing

 headquarters is occupied with servers, each of which controls approximately 1,000 bot-

 controlled devices. According to CW-2:

         GSX itself has a room, in this computer room there are over 10,000 machines, we
         call them the group robots, which is used to control [the operation]. One person



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        can control about 1,000 cell phones without a problem, and these can be operated
        remotely or from the room, I can control all of the machines. Then I can imitate
        the data generated by a real student or real buying, this is already a very mature
        technology.

        71.    Specifically, GSX’s instructors and tutors used “Group Control” to program the

 Bot-Controlled Devices’ general rates and patterns of attendance over the course of a semester

 (“personality traits”), and to manipulate the Bot-Controlled Devices’ rates and patterns for each

 course session (“behaviors”).

        72.    In addition to her knowledge of GSX’s use of bots to falsify student enrollments

 and activity, CW-2 also has knowledge of GSX’s two other two additional brushing schemes.

 As explained further by CW-3, GSX contracts with third-party brushing firms to brush its

 enrollment figures further. In this scheme, CW-2 explained that she “would sign a contract with

 [the third-party brushing company], I would put 1,000,000 RMB into ads, and [the third-party

 brushing company] would promise me, for example, that 2%, that [the third-party brushing

 company] can keep 20,000 RMB” as “commission.” In this scenario, according to CW-2, the

 third-party brushing company was required to use the remaining 980,000 RMB to purchase

 GSX’s class with “virtual cell numbers or WeChat account numbers.” GSX reported these

 enrollments as “revenues” and reported the commissions as sales and marketing expenses.

 Depending on the number of enrollments a given third-party brusher could fabricate, the

 commissions ranged between two and five percent of the course’s tuition price. Other third-

 party brushers specialized in fabricating attendance data for GSX, according to CW-2.

        73.    Next, GSX paid instructors and tutors to brush sales. CW-2 recalled she entered

 contracts with certain of the Company’s instructors and tutors, pursuant to which GSX agreed to

 promote their courses with “ads” and other promotional materials in exchange for the instructors’

 and tutors’ agreements to purchase fake enrollments.      In this scenario, GSX advanced the



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 instructors and tutors “1,000,000 RMB,” which the instructors and tutors used to purchase

 enrollments. The Company’s instructors and tutors were motivated to do so, CW-2 explains,

 because the Company promoted their courses on the “platform-run ads.” Although no financial

 consideration was exchanged, this tit-for-tat “commission” or “payment” induced several

 instructors and tutors to participate in this scheme.

        74.     Just as in the second scheme, the RMB 1,000,000 gets recorded as marketing

 expenses. As CW-2 explained, the scheme “just takes the 1,000,000 RMB and round trips it.”

                        c.      CW-3

        75.     The Company falsified student enrollments, including student enrollments in

 regularly priced courses, using third parties, according to Confidential Witness 3 (“CW-3”), who

 also has first-hand knowledge of GSX’s pervasive “brushing” activities.

        76.     CW-3 was employed by a third-party brushing firm in Beijing from January 1,

 2019 through December 31, 2019. In this role, she was regularly paid commissions by GSX to

 enroll in GSX’s courses with fake or assumed identities and to write positive reviews. CW-3

 explains that “GSX management” had a contract with this third-party brusher, pursuant to which

 CW-3 and her colleagues would assume the identities of “and conduct activities as if [they] were

 real students.” CW-3 would “buy classes, write positive reviews, and join in the large classes to

 boost up [GSX]’s head counts” with harvested user data from various social media platforms,

 including WeChat. According to CW-3, in 2019, the third-party brusher’s employees, including

 CW-3, accounted for approximately 40% of all enrollments in GSX’s K-12 courses, and wrote

 approximately 35% of the positive reviews for GSX’s K-12 instructors. That is, the third-party

 for which CS-3 worked falsified approximately 40% of all enrollments in GSX’s K-12 courses in

 2019. GSX paid the third-party brusher 50 RMB per enrollment.




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        77.     GSX planned its third-party brushing months in advance. Each quarter, GSX

 prepared and sent a “detailed brushing plan” to the third-party brusher. These plans specified the

 dates, times, course titles, tuition rates, and instructors for whom the third party was to focus its

 brushing efforts. CW-3 and her colleagues referenced and used these plans daily to ascertain the

 GSX courses in which to enroll and then attend, and the GSX instructors about whom to write

 positive reviews.

        78.     As part of the scheme, when the Company sent its brushing plans to the third-

 party each quarter, GSX concurrently transferred the full amount of the tuition fees, together

 with commissions, for the agreed-upon fake enrollments.          Thus, each time CW-3 and her

 colleagues enrolled a fake student in one of GSX’s courses, GSX was not generating new

 revenue or acquiring any customers. Instead, the Company was paying the third-party brusher to

 generate fake student enrollments.

                        d.      CW-5

        79.     Confidential Witness 5 (“CW-5”) is a former customer and former student of

 GSX, and has firsthand knowledge from the perspective of a student that GSX enrolled fake

 “students” in its classes. CW-5 is also an independent English teacher who operates a private

 English vocabulary learning platform in China, “CW-5 English.” Since 2008, CW-5 has posted

 blogs about her English-learning journey and has authored an English vocabulary book for

 Mandarin speakers. On or about July 13, 2016, CW-5 paid GSX to market her services as an

 independent English teacher.

        80.     In September 2019, after receiving an unsolicited advertisement from GSX in her

 business’s official WeChat account, CW-5 enrolled in GSX’s 200-session high-school level

 promotional English vocabulary course titled “Magnetic Levitation 38000” and paid RMB5,080




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 in tuition (USD $707.664). The course was to meet for four hours per day, five days per week.

 Upon enrolling in the course, CW-5 received invitations to join two WeChat groups, one for

 students enrolled in the course, and the other for parents of students enrolled in the course.

 Classes began at 8:00 a.m. on the morning of September 3, 2019.

        81.     On the first day of class, the instructor taught for about one hour, after which

 “there was nothing” in the classroom, so CW-5 sent a message to the student and parent WeChat

 groups, inquiring whether any others were suddenly unable to view the course content. In the

 parent group, two users, each purporting to be parents of enrolled students, responded within

 seconds of each other with identical messages, explaining that it was the “Self-Study Period.”

        82.     Approximately ten minutes after the class period ended, at around 12:10 p.m.,

 individuals purporting to be students and parents, each “with different WeChat IDs sent out as

 many as five groups of almost identical praise” for the instructor in both the student group and in

 the parent group.

        83.     For example, two “different” individuals in both groups said: “Teacher Song

 really hit the nail on the head, love it,” using identical Chinese characters in the same order.

        84.     In another example, two “different” individuals in both groups said: “I always

 wanted to learn from root words like this, Teacher Song did very well. Perfect, looking forward

 to tomorrow’s class,” using identical Chinese characters in the same order:




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  Board of Governors of the Federal Reserve System, Foreign Exchange Rates—H.10: United
 States Dollars to Chinese Yuan Renminbi (Sept. 3, 2019),
 https://www.federalreserve.gov/releases/h10/hist/dat00_ch.htm.



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        85.     In another example, two “different” individuals in both groups said: “I enjoy this

 methodology for memorizing words. Doing more with less, I like it,” using the same Chinese

 characters in the same order:




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        86.     In another example, two “different individuals in both groups said: “The teacher

 speaks very well, very helpful for children. Great!,” using the same Chinese characters in the

 same order.

        87.     According to CW-5, each of the class sessions she attended followed the same

 routine: an instructor would teach for about one hour and then leave the platform. Ten minutes

 after the class was scheduled to end, different users in both the student and parent groups would

 post favorable reviews of the lesson and of the instructor using identical grammatical syntax.

        88.     On December 5, 2019, CW-5 published an article through her business’s official

 WeChat account. In the article, CW-5 claimed that most of the positive reviews were written by

 GSX personnel, who hacked the user IDs of random WeChat users, enrolled in the courses, and

 then wrote the reviews after each class.

        89.     The same day, a representative from GSX’s legal department sent CW-5 a

 message to CW-5’s official WeChat account and threatened her with legal action:

        GSX Legal: [CW-2], here is how it is: Firstly, we offer free courses that are
                   accessible to the public. There are teaching assistants in group
                   chats who regularly notify people to attend classes in order to
                   ensure that everyone has a satisfactory experience; there is no sign
                   of fraud. Secondly, your article consists of assumptions and
                   speculations about our company. If such content brings harm to
                   our company’s reputation, among other aspects, we intend to
                   resolve these issues through reasonable and effective legal action.

        [CW-1]:        Well, prove that the five groups of identical positive reviews I
                       included in my article are not a coincidence.

        [CW-1]:        But having said that, what happens if I continue to find many
                       similarities amongst positive reviews in the future?

        [CW-1]:        We can follow the legal procedure now if you would like.




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                       e.      CW-6

        90.     Confidential Witness 6 (“CW-6”), a former GSX tutor, has first-hand knowledge

 of GSX’s pervasive “brushing” activities and of the actual qualifications of GSX’s instructors

 and tutors.

        91.     CW-6 worked as a “tutor” of first-year high school chemistry for GSX’s Gaotu

 Classroom brand at Zhengzhou Center from approximately June 15, 2019 through July 31, 2019.

 She worked alongside approximately 40 other first-year high school chemistry tutors, and

 according to CW-6, “each tutor had about 200 students.” In this role, CW-6’s job duties were to

 solicit potential customers and enroll new customers in promotional courses.

        92.     CW-6’s duties were twofold. She spent less than 30% of her time “assisting

 instructors in teaching, grading students’ assignments, answering students’ questions, and

 communicating with parents in WeChat groups.” The lion’s share of her time—more than

 70%—was devoted to sales. At GSX’s instruction, CW-6 and the other tutors “encouraged

 clients of the trial lectures to purchase regular-priced courses, and at the end of each course

 period, they encouraged the clients to renew their purchases.”

        93.     CW-6 and the tutors routinely assumed alternative identities to purchase

 promotional courses to inflate enrollment numbers. CW-6 and the tutors did this using the

 WeChat credentials of former “one-time” promotional-course purchasers who did not continue

 their enrollments. CW-6 and the other tutors took screenshots of these sham transactions and

 sent them to the current “one-time” customers, claiming falsely that there “were only a few spots

 left” in the given course, hoping to induce more demand.           Moreover, to “liven up the

 atmosphere” among customers, CW-6 and the other tutors routinely “brushed” course reviews in

 the WeChat groups, at GSX’s direction.




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                        f.     CW-7

        94.     Confidential Witness 7 (“CW-7”), a former GSX employee, worked as an

 “Account Manager” for the VIE in Changsha, from August 15, 2016 through March 31, 2019. In

 this role, CW-7 was responsible for recruiting instructors and tutors across all of GSX’s brands.

 CW-7 has first-hand knowledge of the actual qualifications of GSX’s instructors and tutors

 because she was responsible for recruiting, hiring, and retaining them. She reported to the

 General Manager of the VIE’s Changsha branch.

        95.     According to CW-7, GSX’s most “popular” instructors paid GSX a fee ranging

 between ¥10,000 and ¥200,000 to help the instructors “with marketing and sales, client

 management, and course design.”

                3.      A Study by Citron Research Further Confirms GSX Falsified the
                        Majority of Its Revenues

        96.     That GSX falsified the majority of its revenue is confirmed by a study conducted

 by the research group Citron Research published April 14, 2020.

        97.     Citron selected and paid for the most popular classes taught by “Star Teachers”

 with a significant sample size of more than 20% of total available classes. Citron tracked the

 number of students and actual discounted course fees for more than 20% of total available

 classes during the first quarter of 2020. The total revenues from the amount of student IDs

 Citron found equaled around 70.9 million RMB. Citron extrapolated the revenues from this

 sample onto the rest of the remaining untracked classes, arriving at an estimate of K-12 first

 quarter 2020 revenue of 316 million RMB—a 60% discrepancy compared to reported K-12

 fourth quarter of 2019 revenue of 773 million RMB.         Citron conservatively estimated the

 revenue overstatement for 2019 to be as much as 70% given that GSX’s growth rates nearly

 doubled every quarter for the past four quarters.



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        98.      Citron further found evidence in GSX’s promotional WeChat groups signaling

 duplicate student accounts and fake students. Promotional WeChat groups contained overly

 positive, frequent, and identical comments. 70% of course comments were given by accounts

 with names that correspond to students of the ancient Chinese philosopher, Confucius. Many

 accounts were also found to use fake profile pictures.

        99.      Citron also revealed that GSX inflated their numbers through duplicate classes.

 Given a sampling of 100 different courses across the six primary levels on GSX’s website, there

 are effectively only 20 paid programs when free classes, summer classes, and duplicate programs

 are excluded.

        100.     Citron compared net profits in GSX’s SEC filings and Chinese official

 government filings, finding a 75% discrepancy. The Company responded that the discrepancy

 was due to a GAAP different between China and the United States after a restructured spin-off

 business in 2017.     However, Citron did not find any disclosure surrounding a spin-off or

 divestiture during this period.

                 4.     Preserved Public Job Postings Show that the Company Hired
                        Employees for Brushing

        101.     GSX openly recruits for engineers to develop and maintain its “bot farm.” The

 images below are of a recent public job postings for GSX. The posting was picked up by a user

 of China’s Snowball Finance (雪球) who on May 6th, posted the screenshot and asked, “do you

 understand what this is for?”5      The job post is for a GSX “server room operation and

 maintenance engineer.”



 5
  Láizì Android (来自Android), $Gēn Shéi Xué (GSX)$ Dŏng De Shuō Zhè Shì Zhāo Rén
 Gànshénme ($跟谁学(GSX)$ 懂的说说这是招人干什么), Běijīng Xuě Qiú Xìnxī Kējì Yǒuxiàn



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        102.    The post reveals details about GSX’s brushing operations.




        103.    The job requires “maintaining and operating” the Company’s server rooms, which

 include “cell phone bot network equipment.” Specifically, the job requires “install[ation]” of

 “framework software” like “Xp” and “TaiChi” on the “cell phone bot network equipment.”

        104.    “Xp” refers to Xposed, a set of tools that allows an individual to “jailbreak” or

 “root” a phone (i.e., modify the phone to permit installation of software that normally cannot be

 installed when the phone is received out of the box from the manufacturer due to manufacturer

 restrictions) in order to install restricted software—exactly what the Company must do in order

 to install its customized bot software on a collection of cell phones in “server rooms” in order to

 operate its bot farms.



 (北京雪球信息科技有限) (May 6, 2020, 02:57 AM),
 https://xueqiu.com/5346637144/148620489 (underlines added).



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        105.    TaiChi is a software program that is used in tandem with Xposed. According to

 its website, TaiChi supports a variety of Xposed modules enabling functions like a “fake device”

 and “fake location.” The software also boasts that the software is “hard to detect.”

        106.    A second recent job post, from April 29, 2020, is copied below.6 This job post

 also seeks cell phone engineers to be responsible for “rooting” or “jail breaking” cell phones,

 installing new software, and creating bots or fake users.7




        107.    Together, these job posts further show that GSX operates large scale bot farms.

 These jobs are for posts that are wholly unrelated to, and unnecessary for, GSX’s normal

 operations. While GSX teachers and tutors may well communicate using work cellphones, the


 6
  BOSS Zhí Pìn (BOSS 直聘) (Apr. 29, 2020),
 https://www.zhipin.com/job_detail/19bacff023f680b71Hd52Ni_FFM~.html?sid=seo_aladingb;
 Zhí Yŏu Jí (职友集), Shŏujī Yùn Wéi Gōngchéngshī (手机运维工程师) (Apr. 29, 2020),
 https:/www.jobui.com/job/158236612/. Note, the two posts are linked.
 7
  Bots and fake users are called “brushing” (刷) in Chinese, this can be thought of as a kind of
 automatic swiping function in an app, with the result that purchases, reviews, likes, comments or
 other such fake activities are created.



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 Company’s business, as it has itself described it in public filings, has no need for dedicated

 employees to bypass cellphone manufacturer restrictions and systematically jailbreak phones in

 order to install illegitimate software. Dr. Knoblock has offered his expert opinion that the

 jailbreaking skills sought in these job postings are unrelated to, and unnecessary for, the

 operations of an online education company.

         108.   That GSX’s job posts for engineers experienced in the operation and maintenance

 of large-scale bot networks have not all been taken down further evidences the degree to which

 GSX’s operations rely on bots to falsify student users—as the vast majority of its users are fake,

 and as its operations rely in large part on the falsification of users, the company has little choice

 but to continue publicly recruiting experienced engineers in order to “grow” its falsified user

 base.

                5.      Bot Activity Permeates GSX’s Alleged Business

                        a.      Individual Employees Controlled Up to One Thousand Bots

         109.   GSX’s engineers installed programming codes on the thousands of mobile devices

 that GSX kept at its headquarters and satellite offices. While most of the programs that Android

 Engineers like CW-1 installed on the devices caused the devices to run applications

 autonomously, certain others allowed one human user to control simultaneously up to one

 thousand devices remotely, through a separate application that the GSX engineers also

 developed. According to CW-1, GSX referred to this application as “Group Control.”

         110.   According to CW-2, each GSX instructor and tutor was required to download

 GSX’s applications to her personal device upon accepting a position with GSX. The instructors

 and tutors also were required to use “Group Control” during each class.

         111.   According to CW-1, when using the “Group Control” program, tutors drafted and

 sent “questions” for the bot-controlled devices to “ask” of the instructor during a scheduled class.


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 The various bot-controlled devices sent these questions—identical in every respect—to the

 instructors at staggered times during the class.

        112.    The instructors and tutors also used “Group Control” to command the bot-

 controlled devices to write five-star reviews for a given course or Instructor. The following

 reviews of GSX instructor Yao Lujing dated April 7, 2020—posted within seconds of each

 other—are illustrative:




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         113.   The first two reviews above purport to be from the same user, are identical

 linguistically and syntactically, and were posted within 15 seconds of each other. All that

 distinguishes one from the other is the course for which the “same” user is reviewing the “same”

 instructor.

         114.   The third through fifth reviews above also purport to be from the same user, are

 identical in substance, and were posted within 70 seconds of each other. As with the first two

 reviews, the third through fifth reviews are distinguishable from each other only with respect to

 the course for which the “same” user is reviewing the “same” instructor.

         115.   The sixth and seventh reviews above, like the others, appear to be from the same

 user, are nearly identical in substance, and were posted within 153 seconds of each other. Like

 the others, the sixth and seventh reviews are distinguishable from each other only with respect to

 the course for which the “same” user is reviewing the “same” instructor.

         116.   The ninth through twelfth reviews above, also purport to be from the same user

 and are identical in substance. These four reviews were posted within 163 seconds of each other.




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 As with the other reviews, the eighth through twelfth reviews are distinguishable from each other

 only with respect to the course for which the “same” user is reviewing the “same” instructor.

        117.    The phenomenon illustrated above cannot be explained by normal human

 behavior.

                        b.     Nearly 60% of GSX’s Elementary-Level Courses Are
                               Duplicates and Attended by Bots

        118.    In all its SEC filings throughout the Class Period, GSX has reported “paid

 enrollments” for certain “paid” courses, but GSX never disclosed that at least 58% of such

 “paid” courses are duplicates attended by “bots.” A “duplicate” course is one that is marketed as

 a specific, grade-level-appropriate course, but actually combines students from among several

 grade levels into one larger class. For example, a student in Elementary Grade 1 who enrolls in a

 “Super Spelling” live online course with Instructor X beginning on Date Y actually enrolls in the

 same course as students in Elementary Grades 2–6 who enroll in the “Super Spelling” courses

 marketed at their grade level.8

        119.    As of October 10, 2020, GSX offered 88 courses across Elementary Grades 1-6.

 Of these 88 courses, only 37 (i.e. 42%) were not duplicates.

        120.    The phenomenon illustrated above cannot be explained by normal human

 behavior.

                        c.     Perfectly Linear Enrollment Growth Shows the Majority of
                               GSX’s User Accounts Were Created by Bots

        121.    Genshuixue is one of two GSX brands through which GSX markets its online K-

 12 courses. To enroll in a course, a user must first establish an online profile and user account,

 8
  For a demonstration of this phenomenon, see Sylvan Research, Sam | Super Spelling |
 Duplicate Classes 1–6 | GSX with audio, YouTube (Oct. 13, 2020),
 https://www.youtube.com/watch?v=1ZVnf8Keww4.



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 so that all paid enrollments must be linked to a user account. Although GSX does not report the

 number of student users across its platforms, it reports “enrollments.”    For 2Q2020, GSX

 reported 1,567,000 paid enrollments.

        122.   Organic user growth tends to fluctuate over time because several human variables

 affect market demand for most services Although specific, time-limited factors, like marking

 campaigns, may encourage a burst of enrollments in a short span of time, a linear increase in

 demand for any service cannot be the result of normal human behavior. Yet, GSX’s data show

 that the growth in Genshuixue’s user account numbers increased almost perfectly linearly

 between May 8 and May 21, 2020:9




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        123.    Where there were lags in the linear growth pattern of more than 15 seconds, the

 rate of user account increases accelerated to catch up. For example, on or about May 8, 2020,

 between 4:00 p.m. and 5:45 p.m., Genshuixue’s user data show that GSX added over 4,000 new

 user accounts, nearly linearly:10




        124.    The illustrations in ¶¶ 166–67 demonstrate that GSX’s user growth is not the

 product of organic growth, and can be explained only by the use of skillfully calibrated bots.




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                        d.      Attempting to Avoid Detection of its Thousands of Bots, GSX
                                Programs Each Bot with One of Three Distinct “Flavors or
                                “Personalities”

        125.    Whereas bots permeate each element of GSX’s user-facing business, they must be

 programmed to imitate real human behavior to avoid detection. Similarly, bot-generated user

 accounts must have some variation. For example, user accounts must have different usernames,

 phone numbers, and profile pictures. To this end, GSX has developed, or paid third parties to

 develop, thee different “personalities” for each of the bots on its platforms; user accounts each

 have the “flavor” of one of these distinct “personalities.”

        126.    Specifically, “Bot Type 1” user accounts are ascribed a ‘female’ gender, use a

 default ‘female’ avatar, and are assigned random usernames. All of the usernames are random

 nouns in Mandarin, not Chinese names:




        127.    “Bot Type 2” user accounts are all ascribed a ‘female’ gender, use a default

 ‘female’ avatar, and are assigned usernames that are designed to look like mobile telephone

 numbers. None of these telephone numbers comports with the Chinese Telephone Code Plan

 and therefore none is a real phone number:




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        128.    “Bot Type 3” user accounts are all ascribed a ‘female’ gender and a random, low-

 resolution photographic avatar measuring 132 pixels by 132 pixels. By contrast, the average

 digital image measures at least 1024 pixels by 1024 pixels. Since GSX’s platform is entirely

 digital, requires a “smart” mobile device, and is geared toward children and young adults, it is

 improbable that thousands of user accounts would have low-resolution photographic avatars

 unless they are bots.

        129.    This sophisticated scheme demonstrates that GSX’s “core expertise” was not in

 K-12 online education, as it claimed time and again to investors before the IPO and throughout

 the Class Period.       Instead, the Company’s expertise lies in using sophisticated computer

 engineering experts to facilitate a sham business that defrauds unwitting parents of

 schoolchildren in China. To finance and maintain its bot-based “business,” GSX took advantage

 of U.S. investors. Using the NYSE as its bankroll, Company siphoned massive funds from the

 U.S. market at the expense of Plaintiffs and all members of the Class.




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                6.      GSX Techedu’s Growth Compared to Competitors’ Cannot Be
                        Explained by Competitive Advantage or Any Other Legitimate
                        Reason

                        a.     Analysis of Historical Company Growth Shows That GSX
                               Would Be Increasing in Value at A Rate Comparable Only to
                               Google in The Early 2000s at the Onset of Intent Searches

        130.    GSX’s growth and financial performance is too good to be true.

        131.    While the top three U.S.-listed Chinese education companies all outperformed the

 broader market in the first three quarters of 2020, GSX’s reported performance lapped that of

 any of its competitors, without any plausible, legitimate explanation.11




 11
   Jing Yang & Xie Yu, One of the Year’s Worst Short Bets Defies Scathing Reports & and SEC
 Investigation, Wall St. J. (Oct. 12, 2020, 5:38 AM), https://www.wsj.com/articles/one-of-the-
 years-worst-short-bets-defies-scathing-reports-and-an-sec-investigation-11602495518.



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          132.    As one market analyst correctly noted, “The stated growth and profitability of this

 company can only be matched by Google in its early days. This is just not believable.”12

          133.    Indeed, GSX is the only publicly-traded Chinese online education company that

 consistently reported bottom-line profitability in 2019, and it was the first such company ever to

 report net profitability.

          134.    GSX’s growth far outpaces its rivals’ when they were at similar stages of

 development:

                              FY reached       Revenues FY
                                                                 Revenues next
             Company           GSX 2018       reached GSX                            Growth (%)
                                                                      FY
                               revenues       2018 revenues
          GSX                2018             RMB 397 mln       RMB 2.1 bln          4,290%
          New Oriental       2004             RMB 441 mln       RMB 643 mln          46%
          TAL Education      2011             RMB 450 mln       RMB 697 mln          55%

          135.    GSX’s growth also far outpaces its rivals’ over the same period:

                                                         Revenues for the
                                   Revenues for the
                                                         year ended about
                 Company          year ended about                                Growth (%)
                                                           December 31,
                                  December 31, 2018
                                                               2019
          GSX13                   USD 59.2 mln           USD 304 mln           4,290%
          New Oriental14          USD 2.8bln             USD 3.2 bln           15%
          TAL Education15         USD 2.6 bln            USD 3.3 bln           28%

          136.    GSX’s self-reported growth in other periods is similarly implausible. According

 to the Company, its total valuation increased by 65.55% year-over-year between June 30, 2017

 12
    Kenneth Rapoza, China’s ‘Better Than Tesla’ Stock Is A Scam, Short Sellers Say, Forbes
 (Aug. 11, 2020, 8:00 AM) (quoting Andrew Left, Founder, Citron Research),
 https://www.forbes.com/sites/kenrapoza/2020/08/11/chinas-better-than-tesla-stock-is-a-scam-
 short-sellers-say/?sh=17b2c6811e49; @CitronResearch, Twitter (May 13, 2020, 7:46 AM),
 http://www.twitter.com/morisa1007/status/1281956792956788736?s=20.
 13
      For the years ended December 31, 2018/19.
 14
      For the years ended November 31, 2018/19.
 15
      For the years ended February 28/29, 2018/19.



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 and June 30, 2018, by 197.67% year-over-year between December 31, 2017 and December 31,

 2018, and by 1,502% year-over-year between March 31, 2018 and March 31, 2019. 16 All told,

 the Company claimed that in the 21-month period preceding the IPO, its valuation increased by

 2,386.21%.

        137.    According to the Company, its “net revenues increased by 307.1% to ¥397.3

 million (US $57.8 million) in 2018 from ¥97.6 million in 2017” and “by 432.3% from ¥397.3

 million in 2018 to ¥2,144.9 million (US $303.8 million) in 2019.” The Company claimed that its

 its “gross billings increased by 437.8% to ¥655.1 million (US $95.3 million) in 2018 from

 ¥121.8 million in 2017” and by 412.60%, from “¥655,128,000” in 2018 to “¥3,358,152,000” in

 2019. GSX claimed that it realized a positive net income for the first time in 2018, of “¥19.7

 million (US $2.9 million) in 2018, compared with a net loss of ¥87.0 million in 2017,” a

 122.64% increase. The Company reported that its “net income increased from ¥19.7 million in

 2018 to ¥226.6 million (US $32.5 million) in 2019,” a 1050.25% increase.

        138.    Of critical import to investors, GSX represented that its online K-12 business

 “contributed over 73% of [its] total revenues in 2018 [sic] and that “total enrollments” in such

 courses17 increased from 79,632 in 2017 to 767,102 in 2018,” an increase of 863.31%.

 Simultaneously, GSX claimed that “total paid enrollments” across all of its business lines

 “increased from 65,092 in 2017 to 552,294 in 2018,” an increase of 748.48%. Later, GSX

 represented that its online K-12 business contributed to 80.7% of its total revenues in 2019 and


 16
   The Company represented that each of its shares was worth ¥2.90 on June 30, 2017; ¥3.70 on
 October 31, 2017; ¥4.30 on December 31, 2017; ¥4.50 on March 31, 2018; ¥4.80 on June 30,
 2018; ¥12.60 on September 30, 2018; ¥12.70 on December 31, 2018; and ¥72.10 on March 31,
 2019.
 17
   As discussed in more detail below, GSX purposely conflated “total paid enrollments” for K–
 12 courses with “total enrollments” for such courses in its filings throughout the Class Period.



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 that “K-12 paid course enrollments increased by 374% from 419.9 thousand in 2018 to 1,957.6

 thousand in 2019,” and that “total enrollments increased” from “767,102 in 2018 . . . to

 2,742,545 in 2019.”         The Company claimed that “[i]n 2019, 89.5% of [its] paid course

 enrollments were from [the] K-12 courses, compared to 74.8% in 2018 and 86.6% in 2017.”

 GSX also represented that it employed 163 instructors and 352 tutors as of December 31, 2018,

 while it employed 176 full-time instructors, “56 full-time on-line exclusively contracted

 instructors,” and “3,736 full-time tutors” as of December 31, 2019.

        139.    GSX has no legitimate competitive advantage that would explain this growth.

                        b.       GSX Does Not Have a Superior Product

        140.    According to a UBS survey, GSX offers an inferior product at higher prices.

 Analysts employed by UBS conducted a survey of 2,100 respondents who have children in

 primary school, junior high, or high school, in China. The survey was conducted between

 November 22 to December 6, 2019. They included survey results in an analyst report they

 published on January 15, 2020. UBS reported that parents were less satisfied wither either of

 GSX’s products than with peer average (Genshuixue: 4.07; Gaotu: 4.29; Peers’ average: 4.34)

 and that the brands were less prominent (Parents’ awareness—Genshuixue: 10.3%; Gaotu:

 20.5%; Peers’ average 39.3%). These are comparisons to the average product, not the leading

 products. Yet despite offering low-quality offerings from lesser-known brands, GSX claimed to

 charge premium prices (hourly average sale price—Genshuixue, 80 RMB; Gaotu, RMB 56;

 Peers’ average: RMB 40). Thus, GSX offers lesser-known, inferior products at premium prices,

 but asserts that its market share is exploding.

                        c.       GSX Does Not Have Superior Teachers

        141.    GSX has routinely represented that one of its central competitive advantages is its

 superior teaching staff. For example, in its May 2019 F-1/A dated May 28, 2019, the Company


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 represented that it “relentlessly pursue[s] the highest quality in [its] course offerings” and

 claimed that its “education[al] excellence is backed by [its] high-quality teachers and in-house

 curriculum development expertise.”      Likewise, during an August 22, 2019 earnings call

 teleconference Defendant Shen assured the investing public that GSX has “a really high bar to

 recruit instructors,” claiming that “less than 2 [percent of interviewees] can pass [the

 Company’s] interviews.” According to Defendant Chen, the Company “focus[es] on hiring only

 the very best teachers in China.”

        142.    GSX’s representations that its teaching staff are “well trained” or that the bar to

 becoming an instructor is high are false, and so cannot explain the Company’s implausible

 growth compared to its peers. From before its IPO and continuing throughout the Class Period,

 GSX routinely hired as tutors newly-minted university graduates, without a formal application

 process, and without requiring any proof that such graduates had any teaching credentials

 whatsoever.

        143.    CW-7, an Account Manager who directly recruited GSX’s instructors, was

 directed to make hiring decisions based more upon a candidate’s charisma and physical

 appearance and less on his or her academic qualifications and teaching background. As CW-6

 explained, beginning as early as August 2016, GSX’s aim was “to hire college students cheaply”

 as instructors or tutors and to be “casual” about candidates’ experience. As CW-7 explains,

 “academic degrees or work experience” were “not the most important” qualifications for hire.




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            144.   GSX’s hiring process was not selective. At all relevant times, GSX’s Genshuixue

 brand maintained an online “Teacher Application Portal”18 through which any person with a

 WeChat account could sign up to be paired with students. As depicted below, it appears that any

 person with a WeChat account can register to be a teacher after completing “four simple steps,”

 which are: (1) “Fill in the complete personal information;” (2) “Set up at least one course and fill

 in the class method and price;” (3) “Set your class time;” and (4) “Submit certification

 information (ID certification is required).” According to the website, “[a]fter the 4 steps are set

 up, wait for the system to approve, and you can start classes on the platform!”19

            145.   This process shows that GSX’s teacher recruiting is not at all rigorous. GSX’s

 record-breaking growth cannot be attributed to having “superior” teachers.

            146.   Furthermore, GSX actually violates Chinse law by recruiting and ultimately

 hiring as instructors and tutors individuals without the requisite educational and professional

 credentials, GSX’s online education business is in violation of Chinese law. As in the United

 States, the licensure and credentialing of education professionals is highly regulated in China.

 On August 6, 2018, the Chinese State Council on for the Ministry of Education formally

 promulgated its Opinion on Regulating After-School Training Institutions, known in China as

 “Opinion 80.” Under Chinese law, such a decree is binding on all persons unless and until it is

 amended or revoked by the central government.

            147.   Opinion 80 provides, in part:




 18
    See Xiànzài Rùzhù Gēn Shéi Xué (现在入驻跟谁学), Gēn Shéi Xué: Bĕijīng Băi Jiā Hùlián
 Kēijì Yŏuxiàn Gōngsī (北京百家互联科技有限公司),
 https://www.genshuixue.com/static/teacher.
 19
      Id.



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        The personnel employed for training must abide by the Constitution and laws,
        love education, have good ideological morality and corresponding training
        capabilities; teachers engaged in training in Chinese, mathematics, English and
        physics, chemistry, biology and other subjects should have the corresponding
        teacher qualifications. Training institutions shall sign employment contracts,
        labor contracts or labor service agreements with the personnel they employ in
        accordance with the law. The recruitment of foreign personnel must comply with
        relevant national regulations. In terms of management conditions, off-campus
        training institutions must adhere to and strengthen the leadership of the party, so
        that the party’s building is planned, the party’s organization is set up, and the
        party’s work is carried out simultaneously to ensure the correct direction of
        running the school. There must be a standardized charter and corresponding
        management system, clarifying the purpose of training, business scope, decision-
        making mechanism, capital management, guarantee conditions and service
        commitments.

        148.    As CW-6, and CW-7 explain, GSX’s tutors and instructors do not have “teacher

 qualifications” to teach “Chinese, mathematics, English and physics, chemistry, biology and

 other subjects.” CW-6, for example, taught high-school Chemistry at GSX and had no teaching

 qualifications at all, and CW-6’s lack of qualifications was typical of GSX instructors and tutors.

 Indeed, as of April 19, 2019, only 12% of GSX’s instructors and tutors had the requisite

 credentials to provide online educational services to students. They spend more than sixty

 percent of their time on advertising and promotional efforts, receive no formal ongoing training

 in educational best practices, and work without rest to make sales.

                       d.      Data Show GSX Has Fewer Teachers than Competitors

        149.    GSX’s implausible growth likewise cannot be explained by having more teachers

 than its competitors—throughout the Class Period, GSX employed fewer teachers than its

 competitors.

        150.    Data from LinkedIn, the most popular global social media app for professional

 connections, offer an objective, company-independent approximation of the number of teachers

 GSX actually employs. According to LinkedIn, as of August 8, 2020, New Oriental had 8,787

 employee profiles, TAL had 5,555 employee profiles, while GSX’s employee profiles, across all


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 brands, numbered only 451. As of August 8, 2020, New Oriental claimed to have “84,500

 employees including over 42,400 highly qualified teachers.” As of May 26, 2020, TAL claimed

 to employ “a total of 34,733 people.” GSX, for its part, claimed on September 2, 2020 that it

 employs 10,000 tutors.    Accepting the companies’ public statements as true, coupled with

 investigative findings, 10.40% of New Oriental’s employees have a LinkedIn profile, 15.99% of

 TAL’s employees have a LinkedIn profile, but only 4.51% of GSX’s “employees” have a

 LinkedIn profile. Online businesses working in similar markets, like New Oriental, TAL, and

 GSX, should have similar percentages of their employees on the same professional networking

 platforms. That GSX has a far smaller percentage of its employees on LinkedIn suggests that

 GSX has exaggerated its teachings staff.

        151.   The number of LinkedIn followers provides another objective, company-

 independent proxy for the actual size of its educational force. As of August 8, 2020, GSX,

 which claims to be the third-largest online education provider in China, had the fewest followers

 on LinkedIn among its competitors, both large and small. In fact, GSX had 29 times fewer

 followers than TAL and 37 times fewer followers than New Oriental:




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        152.    Expanding the LinkedIn search to include GSX’s “related business” and sorting

 the data to capture educational employees irrespective of their precise job titles, only 67 matches

 appear, of whom 27 are tutors.

        153.    By contrast a similar search on LinkedIn for TAL’s educational employees,

 returns over 1,000 matches.

        154.    Again, running a similar search on LinkedIn across New Oriental’s educational

 employees, there are over 4,500 matches.




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        155.    Of the 27 tutors who have a presence on LinkedIn, none appear to have the

 requisite teaching credentials, although most have experience in sales. A sample of five such

 profiles follows:




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        156.    Some GSX tutors maintain profiles on MaiMai, another professional networking

 site. As with their colleagues on LinkedIn, the majority of the self-reported work histories of

 these tutors show backgrounds in sales, not in education.

        157.    As the above makes clear, despite its year-long representations that it was

 recruiting additional instructors and tutors, GSX has far fewer teaching employees than

 comparable education companies in China.

                7.     Data Show that GSX Techedu’s Education Services Are Not Used or
                       Recognized in Line with the Company’s Representations about Its
                       User Base and Revenue

                       a.      GSX Is Absent from Reports of Major Players in the
                               Education Industry in China

        158.    The online education learning marketplace is highly regulated in China.

 “Opinion 80,” discussed above in ¶¶ 146-47, also establishes certain oversight procedures and

 standards applicable to all Chinese online education businesses, including GSX. Among other

 things, Opinion 80 provides that online educational institutions are to be “a supplement to in-

 person education.” The Chinese government was concerned that many providers had become

 too “exam-oriented” and “financially burdensome” to families, and thus detrimental to healthy

 educational development among schoolchildren.        Thus, Opinion 80 established an “annual

 inspection and annual report system” whereby the government surveys students from each of the

 approved online education providers, and then publishes the results online.

        159.    On August 10, 2019, the Chinese Ministry of Education formally promulgated its

 Opinion on the Orderly and Health Development of Internet Applications, known in China as

 “Opinion 55,” which provides, among other things, that qualified “providers of educational

 mobile applications shall consciously accept social supervision, set up convenient channels for

 complaints and reports, and handle complaints in a timely manner.”



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        160.    In accordance with those provisions, China’s State Administration for Market

 Regulation (the “SAMR”), a PRC government agency, administers industry market surveys to

 businesses and consumers at least once per year, and publishes the results of those surveys in the

 state-owned media outlets China Consumer News and the Guangming Daily News.

        161.    On March 27, 2020, the SAMR, through China Consumer News, reported the

 results of its inaugural “Online Education Consumer Experience Survey.” The survey, which

 polled data from March 3 through March 8, 2020, provided a method whereby the Chinese

 government could “socially supervise” the “consumer experience” and consumers’

 “evaluation[s]” of e-learning, as required by Opinions 80 and 55. The SAMR sent the survey to

 Xueersi, Tencent Classroom, Homework Gang, China University, Yuandaodao, and New

 Oriental Education & Technology Group Inc. Yet GSX, which has purported to be the “third-

 largest online K-12 large-class after-school tutoring service provider in China” from 2017

 through the present, was too small to be included in the SAMR survey.

                       b.      Survey Data Show that GSX Is Not Widely Used

        162.    Anxious to secure the best possible education for their children, Chinese parents

 pay close attention to the education technology industry in which GSX operates. Chinese-

 language publications based in China cater to these parents by providing information on, and

 rankings of, the various providers. These publications rarely even mention GSX, and this lack of

 mention shows that GSX is a bit player in China:

                (a)    The SAMR-backed China Consumer News recently conducted at least two

 surveys of users of online education asking about the effectiveness of remote learning during the




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 pandemic.20 The surveys both included K-12 respondents. These surveys asked about seven and

 twelve platforms, respectively. Neither GSX nor Gaotu were included in either survey’s list of

 platforms.

               (b)    An April 2020 research report published in the Central Committee-

 sponsored Guangming Daily did not include GSX in a list of 39 online education providers.21

               (c)    GSX is not included in 2018, 2019 and 2020 reports on Chinese education

 technology providers published by iResearch, the leading provider of online audience

 measurement for China.

        163.   Private surveys further show that GSX is not widely recognized in China, and

 certainly not recognized in line with what one would expect were GSX to have the massive

 student base it claims to have. As it reported on May 25, 2020, in each of March and May 2020,

 well-regarded China-focused equity research shop JL Warren Capital commissioned a survey of

 parents who had used K-12 education technology for their children in the past 6 months. The

 surveys had large sample sizes (March: 2,500; May: 2,222). Though GSX claims to be the third-

 largest provider of K-12 afterschool education in China, the surveys showed that GSX’s Gaotu

 platform had about 3% market penetration—well behind TAL Education (25%), New Oriental

 Education (20%), behind Zuoyebang (18.8%), YuanFudao (17.3%), Zhangmen 1-on-1 (6.3%),


 20
    Zhōngguó Xiāofèi Zhĕ Bào (中国消费者报), Wŏmen Shōujíle Xué Ér Sī, Zuòyè Bāng, Yuán
 Fŭdăo De Tĭyàn Diàochá Wènjuàn, Jiéguŏ…
 (我们收集了学而思、作业帮、猿辅导的体验调查问卷，结果…), Shànghāi Dōngfāng Bào
 Yè Yŏuxiàn Gōngsī (上海东方报业有限公司) (Mar. 27, 2020, 6:00 PM),
 https://www.thepaper.cn/newsDetail_forward_6721156.
 21
   Bĕi Shī Dà Xīn Méitĭ Chuánbò Yánjiū Zhōngxīn (北师大新媒体传播研究中心), Xīnguān
 Yìqíng Qíjiān Zhōng Xiăoxué Zàixiàn Jiàoyù Hùdòng Yán Jiù Bàogào
 (新冠疫情期间中小学在线教育互动研究报告), Guānmíng Wēi Jiàoyù (光明微教育) (Apr. 2,
 2020, 10:36 AM), https://edu.gmw.cn/2020-04/02/content_33708443.htm.



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 and even behind VIPKid (5.9%), supposedly a much smaller competitor.22 JL Warren Capital’s

 survey also reported that 70% of parents reported there were fewer than 600 students in their

 children’s Gaotu class—well below the average of 2,000 reported by Defendants.

          164.    JL Warren Capital conducted another survey in December 2020. The survey

 again found that GSX’s market penetration was far below its peers. Of the 300 respondents,

 32.7% reported they had purchased TAL Education’s online courses in the past 6 months, 14.4%

 had purchased New Oriental’s—and only 3.3% had purchased GSX’s

                         c.      Web Analytics Show that GSX Is Not Widely Used

          165.    Because it is an online-only educational platform, web traffic metrics should

 overstate GSX’s market penetration compared to peers who also employ in-person or online-to-

 offline business models. Yet web analytics reports also show that GSX is a bit player.

          166.    Alexa, the gold standard in the industry, ranks websites by the traffic they receive.

 As of January 2020, the platforms of competitors New Oriental and Hujiang both ranked in the

 top 10,000 websites, but GSX’s platform ranked around 80,000th. Notably, during the period in

 which Defendants claim GSX grew exponentially, its platform’s Alexa ranking actually

 declined.




 22
      All figures from the May 2020 survey.



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        167.    Similarly, Rank2traffic, which estimates the number of visitors to particular

 websites, reports that the traffic to GSX’s competitors’ relevant domains dwarfed that to GSX’s:

                                                      2018                        2019
                TAL                         216.2 million               158.2 million
                New Oriental                189.5 million               120.0 million
                VIPKid                      53.3 million                40.1 million
                GSX                         15.5 million                10.3 million

 Thus, GSX draws little traffic to its websites, undercutting Defendants’ claim that it is a leading

 provider.

        168.    Nor did GSX draw many mobile users. Even Defendants admitted on an April 9,

 2020 call responding to the Grizzly article that “We acknowledge that the industry recognizes

 Qimai’s experience in app store ranking and ASO monitoring.”            Yet as Grizzly reported,

 according to Qimai, GSX’s daily downloads were miniscule—only a third of TAL Education’s.

        169.    According to a search that analyst firm Sylvan Research conducted on August 7-9

 and reported on August 9, 2020, only 451 of GSX’s purported at least 10,000 employees, or

 4.5% have pages on LinkedIn—compared to 11% and 16% for competitors TAL Education and

 New Oriental, and suggesting that Defendants have overstated the number of GSX employees.


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        170.    On April 9, 2020, Defendants held a conference call to address allegations that

 GSX had overstated the extent of its operations.     During the call, Defendants encouraged

 investors to rely on QuestMobile data, which, Defendants claimed, showed traffic in line with

 GSX’s claimed market share:

        Last major point is the download data of our apps. According to QuestMobile, one of the
        most frequently used third-party data providers shows the total monthly new users for
        GSX and Gaotu Ketang apps were 2.21 million for the second half in 2019, ranking us
        the third among education peers.

        171.    In fact, on February 12, 2020, QuestMobile published a report listing the top 5

 applications ranked by daily active users from January 14 through February 4, 2020. GSX and

 Gaotu were not on the list.

        172.    App download numbers also show that GSX is unpopular:




        173.    Thus, survey data and web analytics both suggest that GSX overstated its revenue

 and market share.




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                8.       GSX Overstated the Number of Teachers It Employed

         174.   GSX reported that it had only 232 teachers as of December 31, 2019, rising to

 only 392 as of December 31, 2020. Yet a large number of the teachers GSX claims to employ do

 not exist.

         175.   Teachers in China each have a 17-digit certification code. The eleventh digit is

 the teacher’s gender. For male teachers, the number is 1. For female teachers, the number is 2.

         176.   GSX’s subsidiaries post their teachers’ pictures and information, including

 certification code, on their websites. The tenth digit is the teacher’s qualification type code.

 Only teachers with a teacher qualification code of 2 (elementary school), 3 (junior middle

 school) and 4 (high school) are eligible to teach at GSX.

         177.   On March 1, 2021, the market researcher Deloitte Watch published a report online

 on GSX. The analyst relied on the teacher certification numbers GSX’s subsidiaries post on their

 own website. The researcher identified at least 12 teachers who had the wrong gender code. The

 researcher also identified two pairs of teachers who had the same certification number. These

 two errors in certification numbers alone show that more than 3% of GSX’s reported teachers are

 fabricated.

         178.   In truth, GSX fabricated far more teachers. While GSX reported that it had 232

 teachers as of December 31, 2019, a February 23, 2021 21st Century Business Herald article,

 citing Chinese government statistics, reported that there were only 128 licensed GSX teachers as

 of the beginning of 2020. [https://mp.weixin.qq.com/s/8_qWf_7dgMjjhkIyJvYprg]. Similarly,

 while GSX reported 392 teachers as of December 31, 2020, government records showed only

 182 as of the beginning of 2021. Thus, GSX overstated its number of teachers by over 215%.

 The excess were fake.




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        179.   Importantly, when caught, GSX removed teacher profiles.           On April 11, the

 researcher published a follow-up report showing that GSX had removed the profiles of 7 of the

 teachers identified in the March 2021 report and changed the ID numbers of 3.

        180.   In a February 10, 2021 report, the same analyst found two teachers on GSX’s

 website with the same picture:




        181.   Within a day, GSX deleted both Liu and Zhang’s profiles.

               9.      GSX Recognized Money Paid to Brushers to Purchase Enrollments as
                       Marketing and Sales Expenses, Recognized the Enrollment Fees as
                       Revenue, and So Concealed that the Company’s Revenues Were
                       Mostly Fake

        182.   Third-party brushers paid real money for the classes they purchased. The money

 the brushers then paid GSX to purchase classes was recognized as revenue. But the money for

 the transaction originated with GSX. Thus, GSX’s books and records recorded a corresponding

 expense when it paid the money to the brushers.        These sales were so-called round-trip




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 transactions without any economic substance. In addition to boosting gross revenues, the round-

 trip transaction provided a paper trail explaining why GSX’s billions of dollars in revenues did

 not generate billions of dollars in profits. The accounting trick was also necessary because

 brushing is illegal in China.

        183.    As explained above, supra Section IV(B)(2), confidential witnesses have

 explained as much: how GSX paid third-party brushers, among other things, to purchase courses

 with GSX’s money that GSX then recognized as revenue, and how GSX accounted for these

 expenses as marketing expenses.

        184.    According to CW-2, third party brushing companies “are part of a well-

 established industry.” Some companies provide user registration information. Others specialize

 in obtaining and providing cell phone numbers for registrations.      Still others specialize in

 attending classes. For example, Xiao U Guan Jia specializes in providing student information

 and attending classes. GSX invested in certain brushing companies, including Youlian Huanqiu.

 Moreover, some companies specialize in the financial aspect of the fraud. They handle payments

 and accounts so the customer can record the order as legitimate income and expenses. GSX

 retained both Xiao U Guan Jia and Youlian Huanqiu. According to CW-2, both companies

 would, among other things, make fake payments using GSX’s own money. GSX works with

 many other companies that offer similar services.

        185.    CW-2 also has knowledge of GSX’s brushing schemes. First, as explained further

 by CW-3, GSX contracts with third-party brushing firms to brush its enrollment figures. In this

 scheme, CW-2 explained that she “would sign a contract with [the third-party brushing

 company], I would put RMB1,000,000 into ads, and [the third-party brushing company] would

 promise me, for example, that 2%, that [the third-party brushing company] can keep




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 RMB20,000” as “commission.” (Depending on the number of enrollments a given third-party

 brusher could fabricate, the commissions ranged between two and five percent.) The full RMB

 1,000,000 was recorded as a marketing expense. In this scenario, according to CW-2, the third-

 party brushing company was required to use the remaining RMB980,000 to purchase GSX’s

 class with “virtual cell numbers or WeChat account numbers.” GSX reported these enrollments

 as “revenues” and reported the commissions as sales and marketing expenses.              As CW-2

 explained, the scheme “just takes the 1,000,000 RMB and round trips it.” Asked whether

 “basically, they are using the advertising expense item to pay these partners”, CW-2 responded

 “right.”

           186.   CW-2 described how GSX and third-party companies could use group control or

 similar products to purchase classes. Group control could be set so that, “[f]or example, each ten

 minutes make purchases for this many students, then wait so many seconds, then go and buy

 again.”

           187.   CW-2 and CW-3 are hardly alone. On April 25, 2020, JL Warren Capital reported

 on a call it held with a professional brusher who claimed to do brushing work for GSX.

           188.   JL Warren quoted the brusher as saying:

           GSX sent us a detailed brushing plan including our KPIs [Key Performance
           Indicators] in advance. Each teacher has a head count target. The company
           decides the number of “enrollments” each teacher gets in their classes. Company
           believes that brushing is an effective online marketing tool which generates
           higher ROI than traditional online advertisement.

           189.   Then, in an April 30, 2020 report, Citron disclosed additional comments from

 brushers:

           Q: How is your fee?

           A: The actual cost of our service is not high at all. For a class costing several
           thousand (RMB), we would only take about 50 RMB in commission. GSX would
           give us the money for the class and expense it as part of their marketing spend.


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         We would pay for the class with the money they have given to us minus our
         commission. Effectively, the money would go back to their account as revenue
         minus our commission.
         190.

         191.    That GSX recognized money paid to third-party brushers to use to pay for student

  enrollments as marketing expenses explains GSX’s otherwise inexplicably massive expenditures

  on marketing (selling) expenses during the Class Period. As its revenues began to grow, GSX

  recognized enormous marketing expenses. These expenses were comparable to those of its much

  larger than its peers and amounted to a far greater percentage of revenues.

                   In USD           2019                1H 2020           2H 2020            1H 2021

GSX                Revenue          304 million         417 million       674 million        646 million
                   Selling          150 million         278 million       613 million        608 million
                   expenses
                   Selling          48.5%               66.6%             91.0%              94.1%
                   /revenues
TAL Education23 Revenue             3,228 million       1,768 million     2,222 million      2,748 million
                   Selling          746 million         562 million       684 million        674 million
                   expenses
                   Selling          23.1%               26.1%             30.8%              24.5%
                   /revenues
New Oriental       Revenue          3,497 million       1,722 million     1,874 million      2,402 million
                   Selling          402 million         236 million       251 million        350 million
                   expenses
                   Selling          11.5%               13.7%             13.4%              14.6%
                   /revenues


  23
     TAL Education and New Oriental were the only other U.S.-exchange-traded companies
  providing educational services in China during the Class Period. TAL Education’s fiscal year
  ends the last day of February while New Oriental’s ends on May 30. While the two companies
  report quarterly, it is not possible to obtain data that precisely matches the calendar year. Thus,
  the figures for each entry for both companies consist of: 2019: the year ending November 30,
  2019; 1H 2020: the six-month period ending May 30, 2020; 1H2020: the six-month period
  ending November 30, 2020; 1H 2021: the six-month period ending May 30, 2021.



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        192.   Consistent with this explanation of GSX’s massive marketing and sales expenses,

 those expenses continued to soar despite Defendants’ explanations blaming short-term issues:

               (a)     In the Q2 2019 and Q3 2019 earnings calls, Defendants claimed that

               GSX’s business was seasonal and marketing expenses were highest during the

               summer. As Chen stated on the Q3 2019 earnings call, GSX makes heavy sales

               and marketing investments between May and August.

               (b)     Discussing Q1 2020 earnings, Defendants maintained that sales expenses

               were high because GSX had prepaid RMB 200 million.

               (c)     Discussing Q2 2020 earnings, Defendant Shen asserted that “the main

               cause behind the loss was our advanced traffic acquisition in the summer semester

               in Q2.” According to Defendant Shen, GSX had once again prepaid RMB 200

               million for Q3 2020 expenses. These expenditures would generate gross billings

               in Q3 and Q4, but were incurred in Q2.

               (d)     Yet H2 2020 marketing expenditures dwarfed H1 2020. Discussing Q3

               2020 earnings, which included $303 million in selling expenses, Defendant Shen

               asserted that “if we look at our market data, in the third quarter, just look at online

               live large-class, in terms of revenue we're actually with the top -- among the top

               number -- top our players and we know that summer is always the critical

               moment for new enrollment recruitment across the whole year. So we did

               strategically expand our investments.”

               (e)     Q4 2020 selling expenses jumped to $310 million, or even more than Q3,

               though it supposedly fell during GSX’s less active promotional period.




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             Discussing Q4 2020 earnings, Defendant Shen blamed spending on social media

             platforms. But Shen assured investors that the spending would decrease: “[I]n the

             second half of 2020, we started to explore new channels. And for the traffic

             acquisition from social media platforms, it's still like the whole industry highly

             relies on the algorithm provided by the agencies or the social media platforms.

             The high cost of reliance cannot translate into core capabilities or competitive

             advantage and that's why we want to explore new channels. So we did make some

             breakthroughs like, for instance, our private traffic pool metrics on some leading

             short video platforms has been at the top level of the industry.”

             (f)    Q1 2020 selling expenses were higher still, at $349 million. On the Q1

             2020 earnings call, Shen revealed that GSX had not transferred its sales and

             marketing to cheaper alternatives.        Instead, “the traffic acquisition from

             performance [ph] channel still account for a pretty high proportion and because of

             this fierce market competition, the customer acquisition cost of the performance

             channels this quarter is up by several times compared to the same period of last

             year that somehow also cost the change of our gross billings.” But Shen assured

             investors that “in March, we have very significantly reduced our spending in this

             traffic acquisition on performance channels and at this moment, we have

             completely stopped our spending in traffic acquisition from the performance

             channel.

             (g)    Yet while selling expenses decreased, they still amounted to RMB 1.64

             billion in Q2 2021, or about as much as Q2 2020.




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        C.      As Investors Began To Learn that GSX Techedu Massively Overstates Its
                User Base and Revenues, GSX Techedu’s Share Price Fell

        193.    GSX’s dramatic and unexplainable growth gave rise to extensive scrutiny from

 market analysts and government regulators beginning in February 2020. On February 25, 2020,

 Grizzly Research LLC published a report detailing the extent to which GSX has brushed its

 enrollment figures, overstated its revenues, and engaged in undisclosed related-party

 transactions. Less than two months later, on April 2, 2020, the Beijing Normal University issued

 a report condemning the Company’s online large class format as incompatible with Chinese

 educational standards. Citron Research and Muddy Waters Capital LLC followed with their own

 reports on April 14 and May 18, 2020, respectively. On August 7, 2020, Andrew Left of Citron

 Research reported his findings during a primetime FOX Business interview. On or about

 September 2, 2020, the Company disclosed to investors that the SEC’s Division of Enforcement

 commenced an investigation into the Company’s financial and operating records dating to 2017.

 Finally, on October 20, 2020, market reports revealed, among other things, that the Company’s

 revenue had been profoundly overstated, at which point the share price of GSX fell nearly 30%,

 by almost eight billion dollars, in a single day.

        194.    Each of these disclosures revealed material facts to the market that GSX had a

 duty to disclose but failed to disclose, and also revealed that hundreds of statements made by the

 Company to its investors during the Class Period were materially false or misleading at the time

 they were made. A decline in the value of GSX’s ADSs followed each disclosure, damaging

 Plaintiffs and all members of the Class.




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               V.      DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

        A.        Defendants’ False and Misleading Statements in 2019

                  1.     May 8, 2019: The Initial Public Offering Documents

        195.      On May 8, 2019, GSX filed a Form F-1 Registration Statement with the SEC (the

 “May 2019 F-1”). On May 24, 2019, the Company filed an Amended Form F-1 Registration

 Statement (the “May 2019 F-1/A”), Form F-6 Registration Statement for American Depositary

 Shares Evidenced by American Depositary Receipts (the “F-6”), and Form F8-A12B Description

 of Securities.

        196.      In the May 2019 F-1/A, GSX represented that its “total enrollments increased

 from 79,632 in 2017 to 767,102 in 2018 and from 70,845 for the three months ended March 31,

 2018 to 211,002 for the three months ended March 31, 2019” (i.e., increases of 863.31% from

 2017 to 2018 and of 197.84% from 1Q2018 to 1Q2019). According to the Company, “[p]aid

 course enrollments increased by 632.7% from 56,350 [students] to 412,871 [students] in 2018.”

 The Company said that the “average enrollments of [its] online K-12 courses increased from

 approximately 400 [students] per course in 2017 to approximately 600 [students] per course in

 2018, and from approximately 440 per course for the three months ended March 31, 2018 to

 approximately 980 per course for the same period in 2019.” The Company attributed these

 successes to its adoption of “the online live large-class format,” explaining that this pedagogical

 method to deliver “scarce high quality teaching resources to aspiring students in China” coupled

 with GSX’s “focus on operational efficiency” drove its profits in 2018.

        197.      The statements in the above paragraph were materially false and misleading

 because: (1) GSX routinely falsified at least 70% of its student enrollment by (a) using software

 bots to falsify student enrollments in GSX courses and to falsify logins to those online courses,

 and (b) engaging third parties as well as its instructors and tutors to assume the identities of


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 student users to purchase and enroll in GSX courses and then sign-in to those online courses; and

 (2) GSX’s GSX’s stated reasons for its success are materially false and misleading because the

 Company failed to disclose that its purported success was due primarily to its illegally falsified

 student enrollments and inflated revenues, or at a minimum, due to its illegal marketing

 practices.

         198.    Also in the May 2019 F-1/A, GSX represented that its net revenues increased

 from “¥97,580,000” in 2017 to “397,306,000” in 2018, a 307.16% increase. The Company

 claimed a gross profit of ¥72,557,000 in 2017 versus ¥254,553,000 in 2018, a 250.83% increase,

 and for the “three months ended March 31, 2019” versus the same time period in 2018, GSX

 represented that its gross profit increased by 613.53%, from ¥26,223,000 in 2018 to

 ¥187,110,000 in 2019. GSX stated that its “income from operations” increased by 120.72%,

 from a loss of ¥92,427,000 in 2017 to a gain of ¥19,154,000 in 2018. For “the three months

 ended March 31, 2019,” the Company reported that its income from operations increased by

 1,127.09% compared with the same time period in 2018, from a loss of ¥4,160,000 in 2018 to a

 gain of ¥42,727 in 2019. The Company also stated, “Our core expertise is in online K-12

 courses, covering all primary and secondary grades, which contributed over 73% and 75% of our

 total revenues in 2018 and for the three months ended March 31, 2019, respectively.”

         199.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; and (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its purported success was due

 primarily to its illegally falsified student enrollments and inflated revenues, or at a minimum, due

 to its illegal marketing practices.




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                2.      August 22 and 23, 2019: 2Q2019 Earnings Results

        200.    On August 23, 2019, GSX filed, and Defendant Shen signed, a Form 6-K with the

 SEC, attaching and incorporating as an exhibit a press release dated August 22, 2019 detailing

 the Company’s quarterly earnings results for 2Q2019 (together, comprising the “August 2019

 6-K”). In the August 2019 6-K, GSX stated: “[t]otal enrollments increased 250.3% to 592,000

 from 169,000” during this period.

        201.    The statements in the above paragraph were materially false and misleading

 because GSX routinely falsified at least 70% of its student enrollment by (a) using software bots

 to falsify student enrollments in GSX courses and to falsify logins to those online courses, and

 (b) engaging third parties as well as its instructors and tutors to assume the identities of student

 users to purchase and enroll in GSX courses and then sign-in to those online courses.

        202.    Separately in the August 2019 6-K, the Company claimed that its “[n]et revenues

 increased 413.4% year-over-year to ¥353.7 million, from ¥68.9 million.” GSX reported that

 “[g]ross profit increased 496.7% to ¥252.5 million from ¥42.3 million in the second quarter of

 2018,” while [i]ncome from operations increased to ¥16.2 million from a loss from operations of

 ¥0.5 million in the second quarter of 2018,” an increase of 3,340%.

        203.    The statements in the above paragraph were materially false and misleading

 because: (1) GSX’s revenues, including gross billings, were materially overstated, by at least

 70%, throughout the Class Period.

        204.    The Company claimed that its “[c]ost of revenues rose 280.8% to ¥101.2 million

 from ¥26.6 million, . . . mainly due to an increase in compensation for instructors and tutors.”

 GSX further represented that its “[s]elling expenses increased to ¥169.0 million from ¥18.4

 million” (i.e., an 818.48% increase), “primarily as a result of higher marketing expenses to

 expand the customer base and enhance the brand, as well as an increase in compensation to sales


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 and marketing staff.” Further, the Company told investors that its “[r]esearch and development

 expenses increased 164.2% to ¥41.1 million from ¥15.6 million, . . . primarily due to a rise in the

 number of course[] professionals, educational content professionals, and technology

 development personnel, as well as an increase in compensation for such staff.”

        205.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses, and increases in those expenses, were

 attributable to payments to third-party brushers to assume the identities of student users to

 purchase and enroll in GSX courses and then sign-in to those online courses, and to write false

 reviews of the courses.

        206.    On August 22, 2019, Defendants Chen and Shen presented GSX’s 2Q2019 results

 to investors on a teleconference (the “August 2019 Earnings Call”). On the August 2019 call,

 Defendant Shen claimed that the “[n]et revenue from [the] K-12 courses increased by 463.7%,”

 accounting for “76.4% of net revenues” in 2Q2019. Shen claimed that the revenue growth “was

 primarily driven by [an] increase in paid course enrollments and K-12 students’ tuition fees.”

 According to Shen, the Company’s “across-the-board growth was primarily driven by the

 continued expansion of [the Company’s] K-12 after-school tutoring business.”            Shen also

 claimed that paid student enrollments (in courses whose tuition was greater than ¥9.90) rose to

 592,000 students, a 350% increase year-over-year. Shen attributed this growth principally to

 “the continued expansion” of GSX’s “K-12 after-school tutoring business,” in which paid

 enrollments “increased by 372%,” year-over-year, from “68,000” to “321,000” students.

        207.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were




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 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (3) GSX’s stated reasons for its success are materially false and

 misleading because the Company failed to disclose that its purported success was due primarily

 to its illegally falsified student enrollments and inflated revenues, or at a minimum, due to its

 illegal marketing practices.

        208.    August 2019 Earnings Call, Shen further stated, that GSX’s costs of revenues

 increased “by 281%” year-over-year, from “¥26.6 million to ¥101.2 million,” because GSX

 increased its recruitment of teaching staff.      Shen attributed the increase in GSX’s selling

 expenses to the Company’s efforts to “extend market share to attract new students, especially for

 summer campaign and for brand enhancement.” According to Shen, research and development

 expenses “increased by 164.2%” year-over-year, from ¥25.03 million “to ¥41.1 million.,”

 purportedly attributable to the “efficiency and effectiveness of [GSX]’s teaching for data

 delivery” and for its “operational efficiency.”

        209.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

        210.    Responding to investors’ and market analysts’ concerns about GSX’s customer

 acquisition channels, Shen claimed that GSX acquires most new enrollments “through traffic




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 acquisition,” driven by “WeChat,” including “WeChat Official Accounts, WeChat Moments,

 news feed ad[s],” and through “TikTok, Toutiao, and Baidu.” Shen also claimed that GSX’s

 customer acquisition efficiency is at least “twice or even several times as high” as that of its

 competitors because the Company has “developed a really efficient technology to closely

 monitor [its] customer acquisition process.”

        211.    The statements in the above paragraph were materially false and misleading

 because GSX acquired most of its purported student enrollment by (a) using software bots to

 falsify student enrollments in GSX courses and to falsify logins to those online courses, and (b)

 engaging third parties as well as its instructors and tutors to assume the identities of student users

 to purchase and enroll in GSX courses and then sign-in to those online courses.

                3.      November 5 and 7, 2019: 3Q2019 Earnings Results

        212.    On November 7, 2019, GSX filed, and Defendant Shen signed, a Form 6-K with

 the SEC, attaching and incorporating as an exhibit a press release dated November 5, 2019

 detailing the Company’s quarterly earnings results for 3Q2019 (together, comprising the

 “November 2019 6-K”). The Company claimed that its “[n]et revenues reached ¥557.0 million,

 a 461.5% increased from ¥99.2 million . . . mainly driven by the growth in paid course

 enrollments for K-12 courses and a higher level of tuition fees that were charged to K-12

 students.” GSX reported that “[g]ross profit increased 548.8% to ¥400.3 million from ¥61.7

 million in the third quarter of 2018” and that its “[l]oss from operations was ¥10.8 million,

 compared with income from operations of ¥0.1 million in the third quarter of 2018.”

        213.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its purported success was due


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 primarily to its illegally falsified student enrollments and inflated revenues, or at a minimum, due

 to its illegal marketing practices.

         214.    In the November 2019 6-K, the Company claimed that its “[c]ost of revenues rose

 316.8% to ¥156.7 million from ¥37.6 million . . . mainly due to an increase in compensation for

 instructors and tutors.” GSX represented that its “[s]elling expenses increased to ¥330.4 million

 from ¥31.0 million” (i.e., an increase of 965.81%)” “primarily a result of higher marketing

 expenses to expand the customer base and enhance the brand, as well as an increase in

 compensation to sales and marketing staff.”        Further, the Company told investors that its

 “[r]esearch and development expenses increased 185.5% to ¥57.1 million from ¥20.0 million, . .

 . primarily due to an increase in the number of course[] professionals, educational content

 professionals, and technology development personnel, as well as an increase in compensation for

 such staff.”

         215.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

         216.    According to GSX, “[t]otal enrollments increased” by “240.2% year-over-year to

 820,000.”

         217.    The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online




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 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

        218.    On November 5, 2019, Defendants Chen and Shen presented GSX’s 3Q2019

 results to investors on a teleconference (the “November 2019 Earnings Call”). Shen represented

 that GSX’s year-over-year quarterly net revenue “increased 462%,” citing “solid accumulation in

 both education experience and technology resource[s].” Shen then claimed that GSX achieved

 and maintained “profitable growth” by improving its “ability to control costs and operating

 expenses. Shen also claimed that GSX’s gross billings increased “by 420%” year-over-year,

 citing “increasing student enrollments” driven by “promotion efforts.” For GSX’s main revenue

 driver, the K-12 courses, Shen said that net revenue increased “by 526%” year-over-year,

 accounting for 82% of GSX’s net revenues, and that the increase was attributable to an “increase

 in paid course enrollments and the K-12 students’ tuition fees.”             Shen stated that paid

 enrollments for the “K-12 after-school tutoring business increased by 368% year-over-year,”

 further claiming that this segment grew “at a much higher speed compared to other segments.”

 Shen attributed the foregoing to GSX’s “superior teaching quality.” Furthermore, Shen said that

 average enrollments per class increased from 1,200 to 1,400 (i.e., 116.67%) between 2Q2019

 and 3Q2019.

        219.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in




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 to those online courses; and (3) GSX’s stated reasons for its success are materially false and

 misleading because the Company failed to disclose that its purported success was due primarily

 to its illegally falsified student enrollments and inflated revenues, or at a minimum, due to its

 illegal marketing practices.

        220.    On the November 2019 Earnings Call, Shen stated that GSX’s cost of revenues

 increased “by 317% year-over-year,” from “¥38 million to ¥157 million.” Shen said that GSX

 increased its recruitment of teaching staff to accommodate the increased enrollments and

 expanded course offerings.      To explain the 1,065.81% year-over-year increase in selling

 expenses (i.e., from ¥31 million to ¥330.4 million), Shen pointed to “more marketing expenses,

 especially for the summer campaign to attract new students and expand market share and for

 brand enhancement.” Similarly, Shen explained the 185.5% year-over-year increase in research

 and development expenses as a result of adding “innovative designs to [its] classes and an update

 to GSX’s course materials.”

        221.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

                4.      November 18, 2019: The SPO

        222.    On November 18, 2019, GSX filed a Form F-1 Registration Statement (the

 “November 2019 F-1”), wherein the Company represented that GSX was “the third largest

 online K-12 large-class after-school tutoring service provider in China in terms of gross billings

 in 2018,” that its K-12 courses “contributed over 73%” to the Company’s “total revenues in

 2018” and over 79% to the Company’s total revenues in 3Q2019. GSX claimed that its “net


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 revenues increased by 307.1%,” from “¥97.6 million in 2017” to “¥397.3 million (US $55.6

 million) in 2018.”    GSX claimed that its gross profit increased from ¥72,557 in 2017 to

 ¥254,553,000 in 2018, and from ¥130,226,000 for the “nine months ended September 30, 2018”

 to ¥839,903,000 for the same time period in 2019. The Company represented that its income

 from operations in 2017 generated a loss of ¥92,427,000 in 2017, a gain of ¥19,154,000 in 2018;

 for the “nine months ended September 30, 2018,” GSX reported an income loss from operations

 of ¥4,619,000, compared with a ¥48,138,000 gain for the same period in 2019.

        223.    The statements in the above paragraph were materially false and misleading

 because more than half of GSX’s revenues and profits, including gross billings, were falsified,

 throughout the Class Period.

        224.    In the November 2019 F-1, GSX represented that total enrollment in its courses

 “increased from 79,632 [students] in 2017 to 767,102 [students] in 2018” and, for the nine-

 month period beginning on January 1 and ending on September 30 in both years, “from 480,458”

 students in 2018 “to 1,622,862” students in 2019.          GSX also claimed that “[t]he average

 enrollments of our online K-12 courses increased from approximately 400 per course in 2017 to

 approximately 600 per course in 2018, and approximately 570 per course in the nine months

 ended September 30, 2018 to approximately 1,200 per course in the same period in 2019.”

        225.    The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online

 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses.




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        B.      Defendants’ False and Misleading Statements in 2020

                1.      February 18 and 19, 2020: 4Q2019 Earnings Report

        226.    On February 19, 2020, GSX filed, and Defendant Shen signed, a Form 6-K with

 the SEC, attaching and incorporating as an exhibit a press release dated February 18, 2020

 detailing the Company’s quarterly earnings results for 4Q2019 and for Fiscal Year 2019

 (together, comprising the “February 2020 Report”). For the quarter, the Company claimed that

 its “[n]et revenues reached “¥935.0 million, a 412.9% increase from ¥182.265 million . . . mainly

 driven by growth in paid course enrollments for K-12 courses.” The Company reported that its

 “[g]ross profit increased 494.5% to ¥739.0 million from ¥124.3 million in the fourth quarter of

 2018,” and that its “[i]ncome from operations was ¥167.6 million, compared with ¥23.8 million

 in the fourth quarter of 2018.”

        227.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (3) GSX’s stated reasons for its success are materially false and

 misleading because the Company failed to disclose that its purported success was due primarily

 to its illegally falsified student enrollments and inflated revenues, or at a minimum, due to its

 illegal marketing practices.

        228.    In the February 2020 Report, for the quarter, the Company stated that its “[c]ost

 of revenues rose 238.5% to ¥196.0 million from ¥57.9 million, . . . mainly due to the increase in

 compensation for instructors and tutors, learning materials and other operating related expenses


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 [sic].” GSX represented that its “[s]elling expenses increased to ¥442.0 million from ¥58.2

 million” (i.e., an increase of 659.45%) “primarily as a result of higher marketing expenses to

 expand the customer base and enhance the brand, as well as an increase in compensation to sales

 and marketing staff.”24 Further, the Company told investors that its “[r]esearch and development

 expenses increased 215.1% to ¥83.5 million, from ¥26.5 million, . . . primarily due to an increase

 in the number of course professionals, educational content professionals and technology

 development personnel, as well as an increase in compensation for such staff.”

          229.   The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

          230.   In the February 2020 Report, for the fiscal year, the Company claimed that its

 “[n]et revenues reached “¥2,114.9 million, a 432.3% increase from ¥397.3 million . . . mainly

 driven by the growth in paid course enrollments for K-12 courses and a higher level of tuition

 fees that was [sic] charged to K-12 students.” GSX reported that its “[g]ross profit increased

 520.1% to ¥1,578.9 million, from ¥254.6 million in 2018,” and that its “[i]ncome from

 operations increased to ¥215.7 million, from ¥19.2 million in 2018,” a 1,023.44% increase.

          231.   The statements in the above paragraph were false and materially misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

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      This is the same explanation the Company gave in the November 2019 6-K, verbatim.



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 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (3) GSX’s stated reasons for its success are materially false and

 misleading because the Company failed to disclose that its purported success was due primarily

 to its illegally falsified student enrollments and inflated revenues, or at a minimum, due to its

 illegal marketing practices.

        232.    In the February 2020 Report, for the fiscal year, the Company claimed that its

 “[c]ost of revenues increased by 275.3% to ¥535.9 million, from ¥142.8 million, . . . mainly due

 to an increase in compensation for instructors and tutors, learning materials and other related

 operating expenses.” GSX represented that its “[s]elling expenses increased to ¥1,040.9 million,

 from ¥121.5 million” (i.e., an increase of 757.41%) “primarily a result of an increase in

 marketing expenses to expand the customer base and for brand enhancement, as well as an

 increase in compensation to sales and marketing staff.” Further, the Company told investors that

 its “[r]esearch and development expenses increased 186.4% to ¥212.2 million, from ¥74.1

 million, . . . primarily due to an increase in the number of course professionals, educational

 content professionals, and technology development personnel, as well as an increase in

 compensation for such staff.”

        233.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.




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         234.    In the February 2020 Report, for the quarter, GSX claimed that “[t]otal

 enrollments increased 290.2% year-over-year to 1,120,000” students, up from “287,000”

 students. For the fiscal year, GSX represented that “[t]otal enrollments increased 257.6% year-

 over-year to 2,743,000” students, up from “767,000” students.

         235.    The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online

 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

         236.    In the February 2020 Report, Defendant Shen attributed the “lightspeed growth”

 of revenues from the Company’s K-12 business to “paid enrollments,” which Shen represented

 “increased 410% year-over-year.”

         237.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; and (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its purported success was due

 primarily to its illegally falsified student enrollments and inflated revenues, or at a minimum, due

 to its illegal marketing practices.

         238.    On February 18, 2020, Defendants Chen and Shen presented GSX’s 4Q2019 and

 Fiscal Year 2019 results to investors on a teleconference (the “February 2020 Earnings Call”).

         239.    On the February 2020 Earnings Call, Shen claimed that:

         Total enrollments, which refers to enrollments to courses priced at or above ¥9.9,
         hit a record high of 1.12 million, which was 3.9x that of the same period of 2018.
         Paid enrollments, which refer to enrollments priced at or above ¥99, increased to
         1.1 million or 4.4x that of the same period of 2018. In addition, we also provide



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        promotional classes priced at ¥9 all for free, which contributed a large lot of
        enrollments.

        240.      The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online

 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

        241.      On the February 2020 Earnings Call, Shen represented that:

        Net revenue from our K-12 courses increased by 468% year-over-year to ¥773
        million and accounted for 83% of net revenues. [. . .] Among K-12, I want to
        highlight our primary school business, whose revenue grew by 894% year-over-
        year in the fourth quarter. The revenue generated by primary school sector is not
        only increasing in absolute amount, but also accelerating in growth rate. We were
        able to achieve this because we’ve prioritized our primary school business as a
        strategic focus and invested considerable time and resources in upgrading the
        course content and learning experience.

        242.      The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its success was due primarily to

 its illegally falsified student enrollments and inflated revenues, or at a minimum, due to its illegal

 marketing practices.

        243.      On the February 2020 Earnings Call, Shen further stated that:

        Our cost of revenues increased by 239% year-over-year to ¥196 million. The
        year-over-year growth rate was less than that of revenue, primarily attributed to
        the economics of scale of large class business model.

        [. . .]




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         Selling expenses increased to ¥442 million, up from ¥58 million in the fourth
         quarter of 2018. The increase was primarily a result of more marketing expenses
         to attract new students, expand market share and enhance brand awareness.

         [. . .]

         Research and development expenses increased by 215% year-over-year to ¥84
         million. We constantly work our ways to apply the latest technology to improve
         the learning experience. We will consistently invest in research and development,
         hire the most talented professionals and enhance the operational efficiencies
         leveraging technologies.


         244.       The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

         245.       On the February 2020 Earnings Call, responding to a market analyst’s questions

 concerning the Company’s customer acquisition strategy, Shen claimed that GSX is “very

 unique” because “it’s most likely that if a company grows as fast as us [sic], they will be [sic] in

 a deficit position. We can be profitable only because we are very lucky that we are in education

 industry [sic].”

         246.       GSX’s stated reasons in the above paragraph for its success were materially false

 and misleading because the Company failed to disclose that its purported success was due

 primarily to its illegally falsified student enrollments and inflated revenues, or at a minimum, due

 to its illegal marketing practices.

                    2.     April 3, 2020: 2020 Form 20-F

         247.       On April 3, 2020, the Company filed a Form 20-F Annual Registration Statement

 with the SEC (the “2020 20-F”). Defendant Chen signed the 2020 20-F. In this document, the



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 Company stated that its K-12 courses contributed to “73.2% and 80.7%, respectively, of [its]

 total revenues in 2018 and 2019.” The Company claimed that “[i]n 2018 and 2019, [it] derived

 substantially all of [its] net revenues from the course fees that [it] charge to [its] students [sic]”

 and that it “generally collect[s] course fees in advance.” GSX represented that its net revenues

 totaled “¥97,580,000” in 2017; “¥397,306,000” in 2018; and “¥2,114,855,000” in 2019 (i.e., that

 its net revenues increased by 307.16% from 2017 to 2018 and by 432.30% from 2018 to 2019.

 The Company reported that its “gross profit increased by 520.1% from ¥254.6 million in 2018 to

 ¥1,578.9 million (US $226.8 million) in 2019” and that its “income from operations increased

 from ¥19.2 million in 2018 to ¥215.7 million (US $31.0 million) in 2019.”

         248.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; and (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its purported success was due

 primarily to its illegally falsified student enrollments and inflated revenues, or at a minimum, due

 to its illegal marketing practices.

         249.    Also in the 2020 20-F, the Company claimed that its “cost of revenues primarily

 consists of performance-based salaries to instructors and total compensation to tutors” as well as

 “costs for teaching materials, rental expenses for [its] office space and server and bandwidth

 costs,” and that the Company “recorded cost of revenues of ¥25.0 million, ¥142.8 million, and

 ¥535.9 million (US $77.0 million) in 2017, 2018 and 2019, respectively” (i.e., increases of

 471.2% between 2017 and 2018 and of 275.28% between 2018 and 2019). The Company

 claimed that its “selling expenses primarily consist of expenses relating to [its] marketing and

 brand promotion activities, compensation to [its] personnel involved in sales and marketing,




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 traffic acquisition expenses and other miscellaneous expense [sic],” and that it “recorded selling

 expenses of ¥75.3 million, ¥121.5 million, and ¥1,040.9 million in 2017, 2018 and 2019,

 respectively (i.e., increases of 61.35% from 2017 to 2018 and of 756.71% from 2018 to 2019).

 GSX also stated that its “[r]esearch and development expenses consist primarily of compensation

 to [its] education content development personnel, and to [its] technology development personnel,

 and to a lesser extent, rental expenses for office space and server and bandwidth costs and

 others,” claiming that the Company “recorded research and development expenses of ¥52.5

 million, ¥74.1 million and ¥212.2 million (US $30.5 million) in 2017, 2018 and 2019,

 respectively” (i.e., increases of 41.14% between 2017 and 2018 and of 186.37% between 2018

 and 2019).

        250.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

        251.    Also in the 2020 20-F, the Company claimed that its total enrollments “increased

 from 79,632 in 2017 to 767,102 in 2018 and further increased to 2,742,545 in 2019” (i.e., that

 total enrollments increased by 863.31% between 2017 and 2018 and by 257.52% between 2018

 and 2019). According to the Company, “average enrollments of [its] online K-12 courses

 increased from approximately 400 per course in 2017 to approximately 600 per course in 2018,

 and further increased to approximately 1,200 per course in 2019” (i.e., by 50% from 2017 to

 2018 and by 100% from 2018 to 2019). According to the Company, “[i]n 2019, 89.5% of [its]




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 paid course enrollments were from [its] K-12 courses, compared to 74.8% in 2018 and 86.6% in

 2017.”

          252.   The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to illegally falsify student enrollments in GSX courses and to falsify logins to those

 online courses, and (b) engaging third parties as well as its instructors and tutors to assume the

 identities of student users to purchase and enroll in GSX courses and then sign-in to those online

 courses.

                 3.     April 8, 2020: Statement by Chen

          253.   On April 8, 2020, Defendant Chen denied researchers’ initial analyses showing

 that the Company was falsifying student enrollments and revenue when he called upon Muddy

 Waters to investigate the Company for fraud and expressed confidence that nothing would be

 found: “I think if Muddy Waters analyses our data seriously, there is a high probability that

 Muddy Waters will not be so stupid. The level and IQ of the people in Muddy Waters is quite

 high.”

          254.   The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; and (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses.




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                4.      April 9, 2020: “Market Concerns” Investors’ Call

        255.    On April 9, 2020, Defendants Chen and Shen held an impromptu teleconference

 with investors “to address market concerns.” Shen claimed that “[i]n 2019, [the Company]

 generated ¥3.358 billion in gross billings.” Defendant Chen then restated certain of GSX’s 2019

 financial dated, claiming that “in 2019, the full year, [GSX] [is] actually the only one that

 realized a positive net profit,” the Company’s “revenue actually has a growth rate—year-over-

 year growth rate of over 400%.”

        256.    The statements in the above paragraph were materially false and misleading

 because more than half of GSX’s revenues and profits, including gross billings, were falsified,

 throughout the Class Period.

        257.    On April 9, 2020, Shen represented that “for Q42019, [the Company] reported 1.1

 million paid enrollments.” In response to market reports that questioned the truthfulness of

 GSX’s enrollment figures in light of the Company’s own user download data, Shen claimed that

 “total monthly new users for GSX and Gaotu Ketang apps were 2.21 million for the second half

 in 2019, ranking up the third among education peers.” Shen claimed that market reports to the

 contrary were “not accurate, reliable or applicable to [GSX]’s business model.”

        258.    The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to falsify student enrollments in GSX courses and to falsify logins to those online

 courses, and (b) engaging third parties as well as its instructors and tutors to assume the identities

 of student users to purchase and enroll in GSX courses and then sign-in to those online courses.

        259.    On the April 9, 2020 conference call, Chen stated, “[W]e decided not to respond

 to Grizzly's short report. The report is full of irrelevant and false allegations and a lack of basic

 accounting knowledge.”


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        260.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (3) the allegations in the Grizzly report were accurate.

                5.        April 15, 2020: GSX Denies Citron Report

        261.    On April 15, 2020, GSX issued a press release stating: “GSX Techedu Inc. . . .

 today firmly denied the false and ungrounded allegations raised in a report by Citron Research

 dated April 14, 2020.”

        262.    The statements in the above paragraph were materially false and misleading

 because: (1) the report by Citron Research dated April 14, 2020 claimed, among other things,

 that “GSX Techedu Inc. is overstating revenue by up to 70%” and more than half of GSX’s

 revenues and profits, including gross billings, were falsified, throughout the Class Period; (2)

 GSX routinely falsified at least 70% of its student enrollment by (a) using software bots to falsify

 student enrollments in GSX courses and to falsify logins to those online courses, and (b)

 engaging third parties as well as its instructors and tutors to assume the identities of student users

 to purchase and enroll in GSX courses and then sign-in to those online courses; (3) GSX’s stated

 reasons for its success are materially false and misleading because the Company failed to

 disclose that its purported success was due primarily to its falsified student enrollments; and (4)

 the allegations in the Citron report were accurate.




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                6.      May 6 and 7, 2020: 1Q2020 Earnings Report

        263.    On May 7, 20020, GSX filed, and Defendant Shen signed, a Form 6-K with the

 SEC, attaching and incorporating as an exhibit a press release dated May 6, 2020 detailing the

 Company’s quarterly earnings results for 1Q2020 (together, comprising the “May 2020 6-K”).

 The Company claimed that its “[n]et revenues reached ¥1,297.6 million, a 382.0.5% increase

 from ¥269.2 million . . . mainly driven by the growth in paid course enrollments for K-12

 courses.” The Company reported that its “[g]ross profit increased 442.1% to ¥1,014.3 million

 from ¥187.1 million in the first quarter of 2019,” and that its “[i]ncome from operations was

 ¥91.9 million, compared with ¥42.7 million in the first quarter of 2019.”

        264.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; and (2) GSX’s stated reasons for its success are materially

 false and misleading because the Company failed to disclose that its purported success was due

 primarily to its illegally falsified student enrollments, or at a minimum, due to its illegal

 marketing practices.

        265.    The Company claimed that its “[c]ost of revenues rose 245.5% to ¥283.3 million

 from ¥82.0 million, . . . mainly due to the increase in compensation for instructors and tutors,

 learning materials, as well as the extra costs paid for supporting our services offered for free

 during the COVID-19 outbreak.” GSX represented that its “[s]elling expenses increased to

 ¥757.2 million from ¥99.5 million” (i.e., an increase of 661.0%) ” “primarily a result of higher

 marketing expenses to expand the customer base and enhance [the Company’s] brands, an

 increase in compensation to sales and marketing staff, as well as free course promotional

 expenses to acquire traffic during the COVID-19 outbreak.”           Further, the Company told

 investors that its “[r]esearch and development expenses increased 227.0% to ¥99.4 million from


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 ¥30.4 million, . . . primarily due to an increase in the number of course professionals and

 technology development personnel, as well as an increase in compensation for such staff.”

        266.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling

 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

        267.    According to GSX, “[p]aid course enrollments increased 307.4% year-over-year

 to 774,000.”

        268.    The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to illegally falsify student enrollments in GSX courses and to falsify logins to those

 online courses, and (b) engaging third parties as well as its instructors and tutors to assume the

 identities of student users to purchase and enroll in GSX courses and then sign-in to those online

 courses.

                7.      May 19, 2020: Denials of Bots, Brushing & Pledging

        269.    On May 19, 2020, in response to private investigations into GSX’s use of bots and

 enrollment brushing, Defendant GSX issued a press release from its Beijing headquarters. The

 release was published on PR Newswire and is available online.25 The statement was issued by

 the corporate entity GSX, and referenced Ms. Sandy Qin, CFA for more information. In that

 press release, GSX stated:


 25
      Available at:       https://www.prnewswire.com/news-releases/gsx-refutes-muddy-waters-
 researchs-allegations-301061639.html (last accessed April 18, 2023).



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        GSX Techedu Inc. . . . today refuted the false allegations in Muddy Waters
        Research’s latest report, dated May 18, 2020.

        [. . ]

        Burst joiners are caused when classes transition from tutors to instructors, which
        is a typical course procedure.

        [. . ]


        Precise joiners exist for the same reason, especially with respect to K-12 classes,
        which are typically delivered periodically. Early joiners are students who sign in
        early to participate in the tutor's prep sessions.

        [. . ]

        GSX reproduced the full dataset for all of the Company’s paid classes between
        January and March 2020, and concluded that the IP overlap rate between students,
        instructors and tutors was only 0.78%, far less than the 28.2% claimed in the
        report. We believe that a 0.78% overlap is a reasonable level.

        270.     The statements in the above paragraph were materially false and misleading

 because: (1) the allegations in Muddy Waters Research’s latest report, dated May 18, 2020 were

 not false; (2) burst joiners and precise joiners are not all caused when classes transition from

 tutors to instructors; (3) early joiners are not students who sign in early to participate in the

 tutor’s prep sessions; (4) the IP overlap rate between students, instructors and tutors in the full

 dataset for all of the Company’s paid classes between January and March 2020 is not only

 0.78%; (5) More than half of GSX’s revenues and profits, including gross billings, were falsified,

 throughout the Class Period; (6) GSX routinely falsified at least 70% of its student enrollment by

 (a) using software bots to illegally falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses.




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                  8.     May 29, 2020: More Affirmative Denials of Bots & Brushing

        271.      On May 29, 2020, in response to private investigations into GSX’s use of bots and

 enrollment brushing, GSX issued a press release wherein it stated:

        GSX . . . today refuted the false allegations in Muddy Waters Research's latest 6-
        page report, dated May 28, 2020.

        [. . .]

        GSX’s staff rely heavily on cellphones to communicate daily with students and
        parents. In line with the rapid growth in both students and employees, the
        Company requires enough engineers to conduct daily maintenance of cellphones,
        to improve communications efficiency and enhance cost control. That work has
        nothing to do with maintaining bot farms.

        272.      The statements in the above paragraph were materially false and misleading

 because: (1) the allegations in Muddy Waters Research’s latest report, dated May 18, 2020 were

 not false; (2) the job postings for individuals with skills to “jailbreak” cellphones were not job

 postings for “engineers to conduct daily maintenance of cellphones,” and the work sought in the

 job posting directly concerned “maintaining bot farms”; (3) more than half of GSX’s revenues

 and profits, including gross billings, were falsified, throughout the Class Period; (4) GSX

 routinely falsified at least 70% of its student enrollment by (a) using software bots to falsify

 student enrollments in GSX courses and to falsify logins to those online courses, and (b)

 engaging third parties as well as its instructors and tutors to assume the identities of student users

 to purchase and enroll in GSX courses and then sign-in to those online courses.

                  9.     June 3, 2020: GSX Denies Grizzly Research’s Follow-up Report

        273.      On June 3, 2020, GSX stated:

        GSX Techedu Inc. . . . today refuted the false allegations in Grizzly Research’s
        follow up report, dated June 2, 2020.

        [. . .]




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        The Company strictly complies with all relevant legal and regulatory
        requirements, as well as the terms and conditions of social media platforms.

        274.    The statements in the above paragraph were materially false and misleading

 because: (1) the allegations in Grizzly Research’s report, dated June 2, 2020, including the

 allegations that the Company was inflating student enrollments and revenue, were not false; (2)

 More than half of GSX’s revenues and profits, including gross billings, were falsified,

 throughout the Class Period; (3) GSX routinely inflated its student enrollment figures by at least

 70% by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (4) GSX does not strictly comply with all relevant legal and

 regulatory requirements, as its hiring of teachers without any teacher qualifications violates

 Chinese law.

                10.     September 2, 2020: 2Q2020 Earnings Report

        275.    On September 2, 2020, GSX filed, and Defendant Shen signed, a Form 6-K with

 the SEC, attaching and incorporating as an exhibit a press release dated September 2, 2020

 detailing the Company’s quarterly earnings results for 2Q2020 (together, comprising the

 “September 2020 6-K”).       The Company claimed that its “[n]et revenues reached ¥1,650.3

 million, a 366.6% increase from ¥353.7 million, . . . mainly driven by the growth in paid course

 enrollments for K-12 courses.” The Company reported that its “[g]ross profit increased 410.8%

 to ¥1,289.7 million from ¥252.5 million in the second quarter of 2019,” and claimed that its

 “[l]oss from operations was ¥160.8 million, compared with income from operations of ¥16.2

 million in the second quarter of 2019.” The Company claimed that “this decrease was primarily




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 due to higher investment in sales and marketing activities to extend volume growth and

 strengthen brand perception.”

         276.    The statements in the above paragraph were materially false and misleading

 because: (1) More than half of GSX’s revenues and profits, including gross billings, were

 falsified, throughout the Class Period; (2) GSX routinely falsified at least 70% of its student

 enrollment by (a) using software bots to falsify student enrollments in GSX courses and to falsify

 logins to those online courses, and (b) engaging third parties as well as its instructors and tutors

 to assume the identities of student users to purchase and enroll in GSX courses and then sign-in

 to those online courses; and (3) GSX’s stated reasons for its success are materially false and

 misleading because the Company failed to disclose that its purported success was due primarily

 to its falsified student enrollments.

         277.    The Company claimed that its “[c]ost of revenues rose 256.4% to ¥360.7 million

 from ¥101.2 million, . . . mainly due to an increase in compensation for instructors and tutors,

 learning materials, rental expenses, as well as server and bandwidth costs.” GSX represented

 that its “[s]elling expenses increased to ¥1,204.8. million from ¥169.0 million” (i.e., an increase

 of 612.90%) “primarily a result of higher marketing expenses to expand the user base and

 enhance [the Company’s] brands, as well as an increase in compensation to sales and marketing

 staff.” Further, the Company told investors that its “[r]esearch and development expenses

 increased 240.4% to ¥139.9 million from ¥41.1 million, . . . primarily due to an increase in the

 number of course professionals and technology development personnel, as well as an increase in

 compensation for such staff.”

         278.    The statements in the above paragraph were materially false and misleading

 because GSX failed to disclose that a material percentage of its cost of revenues, selling




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 expenses, and research and development expenses were in fact expenses paid to third-party

 brushers to assume the identities of student users to purchase and enroll in GSX courses and then

 sign-in to those online courses, and to write false reviews of the courses.

        279.      According to GSX, “online K-12 paid course enrollments increased 366.0% year-

 over-year to 1,496 thousand driven by [the Company’s] effective investment in sales and

 marketing efforts.”

        280.      The statements in the above paragraph were materially false and misleading

 because GSX routinely inflated its student enrollment figures by at least 70% by (a) using

 software bots to illegally falsify student enrollments in GSX courses and to falsify logins to those

 online courses, and (b) engaging third parties as well as its instructors and tutors to assume the

 identities of student users to purchase and enroll in GSX courses and then sign-in to those online

 courses.

                                    VI.    LOSS CAUSATION

                  1.    April 3, 2020

        281.      On April 3, 2020, GSX filed its 2019 Annual Report on Form 20-F with the SEC

 for the fiscal year ended December 31, 2019. In the 2020 20-F, the Company first disclosed that

 GSX’s online and mobile marketing costs had been responsible for much of the previously-

 reported increase in selling expenses. As reported on April 6 by a JP Morgan analyst, who was

 the only analyst who wrote about the April 20-F:

        Last Friday, GSX released its first 20-F since the listing, for the year of 2019
        (link). While most of the information was already covered in its earnings releases
        (see our 4Q19 takeaway and recent industry update notes), below we quickly
        summarize a few incremental points made available from 20-F.

        [. . .]

        Traffic acquisition costs (“online & mobile marketing” costs) rose +1367% to
        RMB728m in 2019 (vs. RMB50m in 2018), accounting for 70% of its Sales &


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         Marketing expenses (the rest is primarily compensations of sales and marketing
         staffs). This was equivalent to 34% of sales and 22% gross billings in 2019,
         compared to 12% and 8%, respectively, in 2018.

         282.    GSX’s massive increase in online and mobile marketing costs was a partial

  revelation that the Company was spending a massive amount of money on bots and illegal

  brushing expenses to make itself appear larger than it actually was.         As much of GSX’s

  operations were fake, they did not generate cash. To explain the absence of cash, and conceal its

  illegal brushing transactions, GSX had to recognize fake corresponding expenses. Online and

  mobile marketing costs were the expense GSX employed to explain why its revenues were not

  generating any cash and conceal brushing. The increase was also the materialization of the risk

  concealed by GSX’s misstatements that the Company ultimately would have to account for the

  fact that its revenues were far lower than it claimed.

         283.    Following the publication of the 2019 Annual Report, the price of GSX’s ADSs

  fell by $6.05 per share, or 15.52%, to close at $32.93 per share on April 3, 2020.

                 2.      April 14, 2020

         284.    On April 14, 2020, Citron Research published a report highlighting, among other

  things, that the Company’s “2019 revenue was overstated by 70%,” that “sales revenues are

  largely exaggerated,” and that the Company’s “filings are riddled with suspicious transactions.”

         285.    To support its claims, Citron provided wholly new analysis to the market,

  including among other things that: (a) a professional brusher had described in detail the process

  GSX employed to fake enrollments; (b) GSX had overstated its revenues by 70%, based on

  tracking over 20% of GSX classes, collecting the number of unique enrollments, calculating

  course fees for those enrollments, and comparing the resulting total revenue to the Company’s

  reported revenue; (c) surveys showed that GSX was a bit player in the Chinese education

  technology field; and (d) GSX had overstated the number of students in its courses.


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         286.    On this news, the price of GSX’s ADSs fell by $0.20 per share, or 0.64%, to close

  at $31.20 per share on April 14, 2020.

                 3.      May 18 and 20, 2020

         287.    On May 18, 2020, Muddy Waters Capital LLC (“Muddy Waters”) published a

  report in which they provided wholly new analysis to support the claim that the majority of

  GSX’s operations were falsified:         using non-public GSX user and attendance data files

  comprising 200 paid K-12 courses across 54,065 unique users between January and March 2020,

  Muddy Waters analyzed non-human automatic bot activity and concluded that “at least 73.2% of

  GSX’s users are bots.”

         288.    Following the publication of the May 18 Muddy Waters report, the price of

  GSX’s ADSs fell by $2.59, or 7.3% to close at $32.84 per share on May 18, 2020, and fell

  further by $3.30, or 9.74% to close at $30.58 per share on May 20, 2020.

                 4.      August 7, 2020

         289.    On August 7, 2020, Citi Research issued a market report downgrading GSX’s

  ADSs from “Buy” to “Sell,” adjusting the one-year target price to $115 per ADS, citing concerns

  about GSX’s valuation. This disclosure partially revealed that GSX’s revenues and profits were

  overstated due to its falsification of student enrollments.

         290.    Following these disclosures, the price of GSX’s ADSs fell by $24.28, or 18.5%,

  to close at $106.99 per share on Friday, August 7, 2020.

                 5.      August 10, 2020

         291.    On Sunday, August 9, 2020, Sylvan Research published a report revealing further

  evidence that GSX was mostly a fake enterprise. The report compared the online presence of

  GSX employees with that of its competitors, and concluded that GSX had the lowest number of

  employees among the top seven online education companies in China, that the Company inflated


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  the number of teaching staff one hundredfold in its 1Q2020 6-K, and that based upon the online

  professional networking profiles of GSX’s instructors and tutors, most lacked teaching

  credentials. The Sylvan Research report also revealed that GSX had only hired one online tutor

  in ninety days when the Company claimed to have hired 6,500.

         292.    Following this report, the price of GSX’s ADSs fell by $10.43 per share, or

  9.75%, to close at $96.56 per share on the next trading day, August 10, 2020.

                 6.     September 2 and 3, 2020

         293.    On September 2, 2020, GSX announced that the SEC’s Division of Enforcement

  had contacted the Company, requesting it to produce certain financial and operating records

  dating from January 1, 2017. Investors understood this investigation to concern the fraud Muddy

  Waters and other researchers had partly revealed.

         294.    On this news, the price of GSX’s ADSs fell by $11.41 per share, or 12.1%, to

  close at $83.28 per share on September 2, 2020, and on September 3, the stock fell by $4.53 per

  share, or 5.4%, to close at $78.75 on September 3, 2020.

                 7.     October 21, 2020

         295.    On October 21, 2020, Jon Quast of The Motley Fool reported that GSX

  management foresaw a loss of ¥900 million. While GSX does not issue guidance on net income,

  in Q2, it had earned revenues of ¥1,650 million in Q2 and net income of ¥18.6 million. It had

  guided to revenues of ¥1,936 million for Q3.26 The report was accurate: GSX reported a Q3

  2020 net loss of ¥932 million. Thus, the source of the report must have been someone at GSX

  with internal GSX information, and the report was a revelation of that internal information.


  26
    Jon Quast, Why GSX Techedu Stock Was Crushed on Wednesday, The Motley Fool (Oct. 21,
  2020, 12:43 PM), https://www.fool.com/investing/2020/10/21/why-gsx-techedu-stock-was-
  crushed-on-wednesday/.



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         296.    The net loss was a materialization of the risk of Defendants’ concealing that up to

  70% of GSX’s operations were fake. GSX reported Q3 2020 operating expenses of ¥2.5 billion.

  The lion’s share of these expenses was ¥2.1 billion in selling expenses. As set out above, selling

  expenses were the fake expenses GSX used to hide the fact that its revenues were fake and

  therefore did not generate any cash.

         297.    On this news, the price of GSX’s ADSs fell by $29.39, or 28.55%, to close at

  $71.23 per share on October 21, 2020.

          VII.        ADDITIONAL FACTS FURTHER PROBATIVE OF SCIENTER

         A.      The Individual Defendants’ Job Responsibilities Required Them To Have
                 Knowledge that Would Show Their Statements Were False and Misleading

         298.    As explained by several confidential witnesses, Defendants Shen and Chen both

  had job responsibilities that required them to have knowledge of areas of GSX’s operations that

  would show that GSX’s revenues, profits and student enrollments were mostly falsified.

                 1.      CW-8

         299.    Confidential Witness 8 was employed with the title of Financial Manager at GSX

  at its Chengdu branch from October 2021 to October 2022. During part of CW-8’s tenure, CW-8

  reported directly to Defendants Shen, and for the remainder CW-8 reported to the Director of

  Finance, who reported directly to Defendant Shen. The finance team at GSX was comprised of

  approximately 50 individuals.

         300.    According to CW-8, Defendant Nan “knew what the company’s marketing

  expenses were actually spent on.” According to CW-8, prior to and during CW-8’s employment,

  Defendant Shen was responsible for knowing how much the company was spending on

  marketing, and specifically was responsible for knowing and understanding the individual line

  items that made up the marketing budget. Moreover, according to CW-8, all marketing budgets



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  were sent to Shen, who could then review them to determine whether they were reasonable and

  normal.

          301.    Likewise, according to CW-8, prior to and during CW-8’s employment, Shen was

  responsible for knowing “where the Company’s revenue was coming from.” Shen paid attention

  to revenue sources in monthly written reports concerning the Company’s income and budget

  figures. Shen discussed marketing expenses and sources of revenue at meetings of the finance

  team.

          302.    Moreover, according to CW-8, Shen’s responsibilities included keeping track of

  the number of the number of students enrolled, and Shen’s responsibilities included knowing

  how the Company calculated the number of students enrolled.

          303.    CW-8 obtained access to the above information through online meetings with

  Shen, team-building activities with Shen, and general meetings with Shen at the Beijing

  headquarters.

                  2.     CW-9

          304.    CW-9 likewise has confirmed that Chen and Shen were responsible for knowing

  what the Company’s marketing dollars were actually being spent on. CW-9 was a Product &

  Development executive from the first half of 2015 through July 2019. CW-9 was initially

  responsible for GSX’s entire backend platform and product. Later, CW-9 was responsible for

  GSX’s enterprise SaaS system. CW-9 reported directly to Bin Luo, one of GSX’s seven co-

  founders, who reported directly to Defendant Chen. CW-9 also physically sat close to Defendant

  Chen and spoke with Chen daily. During part of CW-9’s tenure, CW-9 would often have

  weekend meals with Defendant Chen during which he would talk about his thoughts on GSX’s

  business.




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         305.     According to CW-9, Defendants Chen and Shen were “certainly responsible” for

  “knowing how much the company spent on marketing,” and Chen was “definitely responsible”

  for “knowing what the Company’s marketing expense were actually being spent on” “in 2019

  and 2020.” When asked whether Chen and Shen were responsible for knowing the line items

  that made up the marketing budget, CW-9 responded “Yes, I think so.” CW-9 also confirmed

  that Chen and Shen were responsible for keeping track of the number of students enrolled in their

  programs, including in 2019 and 2020.

         306.     CW-9 and CW-9’s team developed a dashboard for senior executives, which they

  called the “boss dashboard”. It included flow of products, number and analysis of students,

  teacher evaluations, and class arrangements. According to CW-9, the boss dashboard was “very

  transparent”.

         307.     CW-9 learned these facts about the roles of Chen and Shen from his daily

  interactions and weekend meetings with Chen, and through his role in product and development

  that was one step removed from the C-Suite executives.

                  3.    CW-10

         308.     Another CW-10, likewise has confirmed that Defendant Shen knew what the

  Company’s marketing expenses were actually spent on and was personally involved in the

  preparation of GSX’s marketing budget. CW-10 was the Financial Manager of GSX’s Zhenghou

  branch from January 2020 through April 2022.

         309.     According to CW-10, marketing and advertising has always been an important

  analytical indicator at GSX.    For this reason, and because of GSX’s high marketing and

  advertising expense, Shen would be personally involved in reviewing marketing and advertising

  expenses.     According to CW-10, Shen was responsible for knowing what the Company’s




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  marketing expenses and what they were actually spent on. CW-10 also confirmed that Shen was

  personally involved in preparing the Company’s marketing budget.

         310.    CW-10 confirmed that Shen job responsibilities included knowing what the

  Company’s true sources of income were. Shen discussed the Company’s sources of income at

  monthly financial meetings with CW-10’s superiors, including the Financial Directors who

  reported to Shen. CW-10 confirmed that Shen followed the number of enrolled students. Shen

  regularly reviewed the finance department’s financial management reports, which included

  business data and metrices including student attendance rates and renewal rates.

         311.    According to CW-10, GSX’s Beijing headquarters set not only the overall budget

  numbers for the Zhengzhou branch but also individual line items.

         312.    According to CW-10, GSX created regular financial management reports for Shen

  and other senior executives. These reports included student attendance rates, renewal rates, the

  number of registered students, and the like.

                 4.     CW-11

         313.    CW-11 likewise has confirmed that Defendant Chen knew the Company’s sources

  of revenue, and personally monitored classes and attendees. CW-11 was the marketing manager

  of GSX’s Wuhan office responsible for marketing and advertising. She worked at GSX’s

  Wuhan branch from March 2015 through the beginning of 2020. CW-11 reported to the Wuhan

  office general manager who reported to Chen. CW-11 communicated directly with Chen by

  email and when he visited the Wuhan office.

         314.    According to CW-11, Chen knew the sources of revenue for GSX.            CW-11

  learned this from discussions Chen held with the marketing team about the Company’s liquidity.

  Moreover, according to CW-11, Chen oversaw sales and marketing policies. General managers

  formulated specific sales plan based on Chen’s direction.


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         315.    According to CW-11, Chen and other senior managers made a habit of personally

  watching ongoing online courses. Not only did Chen review the course content, he would also

  check the number of attendees.

         316.    According to CW-11, Chen was particularly concerned about operational data.

  To allow Chen to monitor online classes, GSX created a specialized data system, including

  registration numbers, course purchase rates, and conversion rates. A specialized data team

  monitored the data system. All company data could be monitored through the system by the

  Individual Defendants.

                                                  ***

         317.    Even beyond confidential witness accounts, Individual Defendant Shen

  independently has admitted that her job responsibilities require her to pay close attention to gross

  billings.27 GSX defines gross billings as the total amount of cash received for selling course

  offerings in any given period net of the total refunds in such period. In a call to discuss GSX’s

  Q2 2019 earnings, taking place on August 22, 2019, Defendant Shen stated that “gross billings

  . . . is the metric we pay close attention to . . . .” Likewise, on a call to discuss GSX’s Q4 2019

  earnings, Defendant Shen urged investors to compare gross billings to marketing expenses. On

  the Q1 2020 earnings calls, Defendant Shen reiterated that “sales and marketing expenses is

  related to our gross billings.” Accordingly, as Defendant Shen paid close attention to gross

  billings and their relationship to the Company’s sales and marketing expenses, she had additional

  27
     Gross billings are important to GSX’s operations because GSX’s students pay for their courses
  in advance. GSX cannot recognize revenues when the students pay because it has yet to provide
  the services the students have paid for. Yet GSX reports the sum of these payments as gross
  billings. Gross billings is the leading indicator for revenues because gross billings will
  eventually be recognized as revenues as GSX performs the services for which the students have
  paid. As Defendant Chen stated on the Q1 2020 earnings call taking place on May 6, 2020, it
  typically takes three to six months for GSX to recognize gross billings as revenues.



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  reason to know that the cash GSX was receiving was mostly cash GSX had paid to brushers as

  marketing expenses for round-trip transactions.

         B.      Individual Defendants Had Personal Access to All Major Contracts, and So
                 Had Access to Brushing Contracts

         318.    According to CW-8, Defendant Shen had personal access to all material contracts

  and their terms. It was GSX’s practice to enter the amount of the contracts into GSX’s financial

  system. Once they were entered into the system, Shen had access to the contracts. According to

  CW-8, all contracts involving large amounts of money would be sent to Shen personally. GSX’s

  marketing contracts with third-party brushers certainly involved large amounts of money,

  because they accounted for the Company’s massive marketing expenditures.

         C.      Statements by the Individual Defendants Directly Denying Brushing and
                 Other Fraudulent Practices Are Strong Evidence of Recklessness or
                 Knowledge

         319.    The Individual Defendants repeatedly and pointedly denied that the specific

  frauds alleged herein were occurring.       These statements, often made in direct response to

  investor questioning, are strong evidence that the Individual Defendants, and GSX, at a

  minimum were severely reckless in not knowing the specific frauds alleged herein were

  occurring.

         320.    On June 15, 2015, an article was published on Duozhi.com claiming that GSX

  required afterschool tutoring institutes using its platform to conduct brushing. The article went

  on to claim that GSX would promote the twelve institutes that spent the most on brushing28. The

  article quoted the principal of a tutoring institute as saying that GSX required it to spend at least


  28
    Cindy, Gēn Shéi Xué Bèipù Liào Yāoqiú Rùzhù Jīgòu Shuā Dān, Mŏu Jīgòu Yuè Shuā
  Sìshíwàn (跟谁学被曝料要求入驻机构刷单，某机构月刷四十万), Duō Zhī Wăng (多知网)
  (June 15, 2015, 3:20:22 PM), http://www.duozhi.com/company/201506153416.shtml.



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  200,000 RMB on brushing every month and at least 100,000 RMB during a GSX event on

  June 16. The principal added that “the accounts for brushing are all fake. The platform (i.e.

  GSX) gave us over 10 accounts. Adding the accounts our own employees have registered,

  together we have over 20 accounts. We spent 20-50 thousand [RMB on brushing] for every

  class.”

            321.   Duozhi quoted a teacher as saying that “I asked in a 500-people teacher’s group if

  anyone had obtained any student order on GSX. Besides those payments via GSX made by

  students that we obtained from offline, none of those teachers had obtained any order. This is

  astonishing.”

            322.   Two days later on June 17, 2015, GSX published a statement claiming that “since

  GSX commenced its operations in 2014, it has been fighting both brushing and falsifying

  activities.”29 GSX’s statement discussed its purported efforts on locating cheating teachers and

  account holders who intended to obtain unwarranted bonus from GSX.

            323.   During an interview with Chinese media on April 8, 2020, Defendant Chen

  directly denied researchers’ initial analyses showing that the Company was falsifying student

  enrollments and revenue when he called upon Muddy Waters to investigate the Company for

  fraud and expressed confidence that nothing would be found: “I think if Muddy Waters analyses

  our data seriously, there is a high probability that think Muddy Waters will not be so stupid. The

  level and IQ of the people in Muddy Waters is quite high.”

            324.   On April 9, 2020, during a conference call with investors, Defendant Chen denied

  the fraud directly and without qualification, including the Company’s falsification of student

  29
     Jīng Bào Wăng (京报网), Gēn Shéi Xué: Făn Zuòbì Wŏmen Shì Rènzhēn De
  (跟谁学：反作弊 我们是认真的), Wăngyì Gōngsī (网易公司) (June 17, 2015, 11:14:26 AM),
  https://news.163.com/15/0617/11/ASACHRL200014AED.html.



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  enrollments and revenue, when he said, “[W]e decided not to respond to Grizzly’s short report.

  The report is full of irrelevant and false allegations and a lack of basic accounting knowledge.”

         325.    On April 10, 2020, in an interview titled “We didn't pay the bill, Deloitte checked

  it! GSX CEO Responds to Short Selling,” Chen flatly denied that the Company was brushing and

  was quoted as stating, “There are people who put a label on it, saying that GSX is brushing.

  We’re a B2C business model, how can we brush?”30

         326.    On April 14, 2020, Chen wrote the following to his 1.4 million followers on Sina

  Weibo, a social media platform similar to Twitter: “This is the first time in my life that I have

  encountered such absurdities and great errors in a row.” The same day, in a follow-up post,

  Chen excoriated Grizzly’s report in unqualified terms as “complete nonsense,” and said that he

  would ignore it. He stated further without qualification that, “[Grizzly’s report] fabricated the

  fact that 70% of GSX revenue was fabricated.”

         327.    On April 15, 2020, on his Sina Weibo mini blog, responding to equity research

  reports, Defendant Chen again claimed unequivocally that “GSX has never tolerated brushing.”31

  He claimed that GSX “accentuat[es] high moral value very very much” and that it “is neither

  tolerant nor ambivalent when it comes to conduct or events that contravene the Company’s moral

  principles” since its formation in 2014.




  30
    See Sina Finance,, April 10, 2020, “We didn't pay the bill, Deloitte checked it! GSX CEO
  Responds to Short Selling,” https://webcache.googleusercontent.com/search?q=cache:
  Y7ZNk0ctTo8J:https://finance.sina
  31
     Xīnlàng Cáijīng (新浪财经), Gēn Shéi Xué Chuàngshī Rén Chénxiàngdōng Zàicì Huíyīng Xiāng
  Yuán Bàogào: Wánquán Yīpài Húyán
  (跟谁学创始人陈向东再次回应香橼报告：完全一派胡言) (Apr. 15, 2020, 10:22 AM),
  https://finance.sina.com.cn/chanjing/gsnews/2020-04-15/doc-iircuyvh7864998.shtml.



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         328.    On April 15, 2020, GSX issued a press release stating: “GSX Techedu Inc. . . .

  today firmly denied the false and ungrounded allegations raised in a report by Citron Research

  dated April 14, 2020.” The report by Citron Research dated April 14, 2020 claimed, among

  other things, that “GSX Techedu Inc. is overstating revenue by up to 70%.”

         329.    On the May 6, 2020 call to discuss GSX’s Q1 2020 earnings, Defendant Shen

  denied at length and in strident terms that GSX used brushing:

         We also would like to take this opportunity to quickly talk about the disagreement
         we have with the recent short-seller report that we sell a recorded phone interview
         transcript. Actually, in China, brushing is illegal. It's hard to imagine that a
         criminal can take an extra call to take the risk and with no apparent benefits. And
         the content of the interview was completely different from our actual operations.
         For example, the recording says that the brushing has stopped because of the
         epidemic. But if you can tell that our growth in the first quarter and in the second
         quarter will still be very fast. And our ROI in 2019 was 3.2% in general. We
         definitely couldn't figure out how brushing can improve ROI and make it more
         than one since we already divided big classes into several smaller classes that are
         hosted by tutors. And to improve the learning experience like other companies are
         doing in the industry. This basically, you do not see other students, except for the
         small class. So many things mentioned in the conversation make zero sense. We
         highly suspect the content of the phone interview recording is fake. And if so, in
         the future, if the fake recording can be used as evidence, there will be no order in
         the capital market. And we hope that they can provide any piece of evidence like
         name from our management that involve in brushing or any contract single nature
         bank receipt of which ID they use to brush. Upon receiving this evidence, we will
         show our official stance official seal and the full set of bank statement approved.
         We've already provided all the banks we use. Please just pick one.

         330.    In May 2020, Chen posted to his 1.4 million followers on Sina Weibo: “Muddy

  Waters did some homework for the report. It’s just a pity that they didn’t understand the

  business model of our online live large class.”

         331.    On June 6, 2020, Defendant Chen stated that “unless something unexpected

  happens, this short farce should come to an end in the next two months.”




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         D.      GSX Attempted to Cover Its Tracks

         332.    As set out above, GSX promptly deleted teacher profiles that were exposed as

  fake. GSX’s affirmative steps to cover up falsification is probative of scienter.

         333.    GSX responded to several analyst reports through manipulation, which is likewise

  probative of scienter. On the same weekend as Grizzly’s June 2 report alleging that GSX was

  overstating the number of customers it had, GSX’s new signups for June 2020 class soared by

  1,000%, even though previously the number of new customers had been tapering off:




         334.    Notably, this spike occurred even though the classes had already begun, so

  students were not obtaining the benefit of a full class. The June 7th class was the 8th class in the

  series, out of a total of 10 classes. Thus, according to GSX, on June 7, hundreds of students

  swarmed to waste their money buying a course that was already 70% over. In truth, the spike is

  the result of GSX’s attempt to cover its tracks.




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         E.     Individual Defendants’ Public Statements Show They Monitored Marketing
                Budget, Sales Channels and Classes

         335.   Individual Defendants admit that they monitored the Company’s budget. As

  Defendant Chen stated on a call to discuss GSX’s Q4 2019 earnings, “over the past three years,

  we prioritized effective growth, with future profitable growth.      We gauged each dollar of

  investment to make sure — first to make the sense in terms of unit economics.”

         336.   Individual Defendants also admit that they monitored sales channels. On the Q2

  2019 earnings call, Shen remarked that “we monitor all the [promotional] links and the

  barcode[s] we send out through all our sales channels.”

         337.   Defendants likewise admit that they were personally involved in monitoring

  classes. As Shen explained on the Q2 2019 earnings call, GSX was “probably the only company

  in the summer that we do over [sic] 100% supervision of all of our online live large classes.”

  Shen boasted that the supervision teams produced reports in 24 hours.            Shen added that

  “sometimes, the report is also copied to our CEO.”

         F.     Student Enrollment was GSX’s Core Operation, and the Amount by which
                the Company Overstated Enrollment Could Not Have Escaped the CEO and
                CFO’s Attention

                1.      The Defendants’ Fraud Concerned GSX’s Key Operating Metrics

         338.   The core of GSX’s business is student enrollment in K-12 online classes. GSX

  falsified the Company’s student enrollments and revenue from such enrollments. Accordingly,

  the Defendants’ fraud concerned the core operations of GSX’s business, and the central metrics

  GSX used to measure its business. These operations and metrics were so important to GSX’s

  business that the Defendants knew, or were severely reckless in not knowing about them.

         339.   As GSX stated in its Form 20-F filed on April 3, 2020:

         We have a quality assurance team that monitors the performance of our
         instructors for each course and generates analysis reports for the supervisor in the


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           relevant subject area. Our CEO and senior management team has direct oversight
           over the analysis reports as well as the quality and performance of our
           instructors.

           340.   Accordingly, Defendants were directly involved in analyzing teacher performance

  and therefore knew that at least 70% of students were falsified.

                  2.     The Magnitude of the Defendants’ Fraud Supports an Inference of
                         Scienter

           341.   As detailed in this Amended Complaint, the Defendants’ overstated class

  enrollments and revenue by at least 70% during the Class Period. The magnitude and duration of

  the fraud is strongly indicative of scienter. While GSX has directly implicated Defendants Chen

  and Shen in the fabricated transactions, it is implausible that other high-ranking executives did

  not know of or recklessly disregard the massive overstatement of GSX’s key financial metrics

  during the Class Period.

           G.     Chen was Financially Motivated To Perpetrate Fraud on Investors

           342.   Defendant Chen was highly motivated to inflate the Company’s ADS price and to

  maintain the illusion that GSX was experiencing exponential growth to personally enrich

  himself. Immediately before the IPO, Defendant Chen, as the sole owner of Ebetter International

  Group Limited (“Ebetter”), held 73,305,288, or 51.1%, of GSX’s ordinary shares. Immediately

  after the IPO, all of these shares were redesignated as Class B shares, and Chen controlled 89.8%

  of the Company’s voting power through Ebetter. Following the November 20, 2019 SPO, Chen,

  through Ebetter, retained his 73,305,288 Class B shares and held 89.9% of the Company’s voting

  power.

           343.   Defendant Chen directly benefitted from the artificially inflated ADS price as a

  result of the $50 million Margin Loan Facility dated March 30, 2020, in which Ebetter pledged

  all of its ownership interest in GSX in favor of Chen. As consideration for this Margin Loan



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  Facility, Ebetter mortgaged 6,000,000 of its Class B shares in favor of “Credit Suisse AG,

  Cayman Islands Branch of 11 Madison Avenue, New York, NY 10010, United States.”

         344.    Chen acted in concert with GSX and Defendant Shen to issue materially false and

  misleading information about the Company’s financial status to inflate the price of the ADSs so

  that Chen could secure the Margin Loan Facility, which is in effect a personal line of credit.

         H.      Corporate Insiders Exited their Positions to Finance the Company’s SPO

         345.    In the November 20, 2019 SPO, GSX did not offer any new shares to its

  Individual Shareholders. Instead, the SPO was the vehicle through which five of GSX’s ten

  largest shareholders sold their positions and walked away with a profit. GSX offered 20,700,000

  ADSs in the SPO. Of those 20.7 million ADSs, (1) 2,349,999 represented all 1,566,666 shares

  held by Origin Beyond Limited, a party to the Shareholder Agreement, whose ultimate owners

  are certain undisclosed “GSX employees,” who took a profit of $32,899,986; (2) 4,218,750

  represented all 2,812,500 shares held by Banyan partners Fund II, L.P., a party to the

  Shareholder Agreement, which took a profit of $59,062,500; (3) 2,531,250 represented all

  1,687,500 shares held by QFcapital Limited, a party to the Shareholder Agreement, which took a

  profit of $35,437,500; (4) 1,500,000 represented all 2,250,000 shares held by QF Group Limited,

  a party to the Shareholder Agreement, which took a profit of $31,500,000; and (5) 412,980

  represented all 619,470 shares held by Rolancy International Limited, a party to the Shareholder

  Agreement, whose ultimate owner is Mr. Bin Luo, who took a profit of $8,672,580.

         I.      The Knowledge of GSX’s Senior Executives and Other Agents is Imputed to
                 the Company

         346.    By virtue of their high-level positions as the two most senior officers of GSX,

  participation in and awareness of GSX’s quotidian operations, and control over the issuance of

  the materially false or misleading statements alleged above in Section V, the knowledge or



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  recklessness of Defendants Chen and Shen concerning the Defendants’ false or misleading

  statements is imputed to the Company. Additionally, the knowledge or recklessness of other

  senior employees and managers at GSX concerning the Company’s fabrication of revenue and

  expenses and undisclosed related-party transactions is also imputed to GSX. Accordingly, by no

  later than May 2019, prior to the start of the Class Period, GSX knew about or recklessly

  disregarded its fabrication of revenue and expenses and undisclosed related-party transactions.

                 VIII.    ADDITIONAL INVESTIGATION ALLEGATIONS

         347.    Lead Counsel Pomerantz and its investigators spent hundreds of hours

  investigating this Action. For its investigation, Pomerantz retained three private investigative

  firms, one based in the United States, and the other two based in China, to identify, contact, and

  interview former employees, contractors, and students of GSX Techedu, Inc. The China-based

  investigative firms contacted numerous potential witnesses and conducted approximately 15

  interviews. The first China-based firm directly contacted and interviewed CW-1, CW-3, CW-5,

  CW-6, and CW-7. The second China-based firm directly contacted and interviewed CW-8, CW-

  9, CW-10 and CW-11.

         348.    With respect to CW-2, Pomerantz and the U.S.-based and China-based firms

  reviewed the interview that is publicly posted at https://www.youtube.com/watch?v=-

  7y3X1uhYAE&t=5s (the “YouTube Link”). Individuals at the China-based firm who have

  native proficiency in Mandarin Chinese confirmed that the translations in the YouTube Link are

  accurate. Jing Chen, co-counsel in this Action, a native speaker of Mandarin Chinese, likewise

  reviewed the interview of CW-2 at the YouTube Link to verify the translation’s accuracy.

         349.    The China-based firm also undertook an extensive online investigation of

  English-language and Chinese-language websites for relevant information and to verify the

  accuracy of the allegations in the Complaint. Pomerantz also retained the services of computer


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  science and artificial intelligence expert Craig Knoblock, Ph.D., who conducted an extensive,

  independent analysis described above.

                              IX.    CLASS ACTION ALLEGATIONS

         350.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased or

  otherwise acquired GSX securities in the United States during the Class Period and who were

  damaged upon the revelation of the alleged corrective disclosures (the “Class”).

         351.    The members of the Class are so numerous that joinder of all members is

  impracticable. Throughout the Class Period, GSX securities were actively traded on the New

  York Stock Exchange. While the exact number of Class Members is unknown to Plaintiffs at

  this time and can be ascertained only through appropriate discovery, Plaintiffs believe that there

  are hundreds or thousands of members in the proposed Class. Record owners and other members

  of the Class may be identified from records maintained by GSX, its transfer agent, or its

  domestic depositary, and may be notified of the pendency of this action by mail, using the form

  of notice similar to that customarily used in securities class actions.

         352.    Plaintiffs’ claims are typical of the claims of the members of the Class, as all

  members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

  federal law that is complained of herein.

         353.    Plaintiffs will fairly and adequately protect the interests of the members of the

  Class and has retained counsel competent and experienced in class actions and securities

  litigation. Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

         354.    Common questions of law and fact exist as to all members of the Class and

  predominate over any questions solely affecting individual members of the Class. Among the

  questions of law and fact common to the Class are:


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                    (a)    whether applicable securities laws were violated by Defendants’ acts as

  alleged herein;

                    (b)    whether statements made by Defendants to the investing public during the

  Class Period omitted and/or misrepresented material facts about the business, operations, and

  prospects of GSX;

                    (c)    whether the Individual Defendants caused GSX to issue false and

  misleading statements during the Class Period;

                    (d)    whether Defendants acted knowingly or recklessly in issuing false and

  misleading statements; and

                    (e)    whether the members of the Class have sustained damages and, if so, what

  the proper measure of damages is.

          355.      A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

  the damages suffered by individual members of the Class may be relatively small, the expense

  and burden of individual litigation make it impossible for members of the Class individually to

  redress the wrongs done to them. There will be no difficulty in the management of this action as

  a class action.

          356.      Plaintiffs will rely, in part, upon the presumption of reliance established by the

  fraud-on-the-market doctrine.

          357.      The markets for GSX’s securities were open, well-developed, and efficient at all

  relevant times. As a result of the materially false and/or misleading statements and/or failures to

  disclose, GSX’s securities traded at artificially inflated prices during the Class Period. On

  August 6, 2020 the Company’s securities on the New York Stock Exchange closed at a Class




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  Period high of $131.27. Plaintiffs and other members of the Class purchased or otherwise

  acquired the Company’s securities relying upon the integrity of the market price of GSX’s

  securities and market information relating to GSX and have been damaged thereby.

         358.    During the Class Period, the artificial inflation of GSX’s securities was caused by

  the material misrepresentations and/or omissions particularized in this Amended Complaint,

  causing the damages sustained by Plaintiffs and other members of the Class. As described

  herein, during the Class Period, Defendants made or caused to be made a series of materially

  false and/or misleading statements about GSX’s business, prospects, and operations. These

  material misstatements and/or omissions created an unrealistically positive assessment of GSX

  and its business, operations, and prospects, thus causing the price of the Company’s securities to

  be artificially inflated and maintained at artificially inflated levels at all relevant times, and when

  disclosed, negatively affected the value of the Company’s shares. Defendants’ materially false

  and/or misleading statements during the Class Period induced and resulted in purchases, by

  Plaintiffs and members of the Class, of the Company’s securities at such artificially inflated

  prices, and each of them has been damaged as a result.

         359.    At all relevant times, the markets for GSX’s securities were efficient markets for

  the following reasons, among others:

                 (a)     GSX’s securities met the requirements for listing, and were listed and

  actively traded, on the New York Stock Exchange, a highly efficient and automated market;

                 (b)     As a regulated issuer, GSX filed periodic public reports with the SEC

  and/or the New York Stock Exchange;

                 (c)     GSX regularly communicated with public investors via established market

  communication mechanisms, including through regular dissemination of press releases on the




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  national circuits of major newswire services and through other wide-ranging public disclosures,

  such as communications with the financial press and other similar reporting services; and/or

                 (d)     GSX was followed by securities analysts employed by brokerage firms

  who wrote reports about the Company, and these reports were distributed to the sales forces and

  certain customers of their respective brokerage firms.         Each of these reports was publicly

  available and entered the public marketplace.

         360.    As a result of the foregoing, the market for GSX’s securities promptly digested

  current information regarding GSX from all publicly available sources and reflected such

  information in the price of GSX’s securities. Under these circumstances, all purchasers of

  GSX’s securities during the Class Period suffered similar injury through their purchase of GSX’s

  securities at artificially inflated prices, and a presumption of reliance applies.

         361.    A Class-wide presumption of reliance is also appropriate in this action under the

  Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972)

  and the Third Circuit’s reiteration thereof in Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178

  (3d Cir. 2001), because the Class’s claims center, in large part, upon Defendants’ material

  omissions.    Because this action involves Defendants’ failure to disclose material adverse

  information regarding the Company’s business operations and financial prospects—information

  that Defendants were obligated by law to disclose—positive proof of reliance is not a

  prerequisite to recovery.

                                       X.    NO SAFE HARBOR

         362.    The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the false statements pleaded in this Amended Complaint.

  The statements alleged to be false and misleading herein all relate to then-existing facts and

  conditions. Additionally, to the extent certain of the statements alleged to be false may be


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  characterized as forward looking, they were not identified specifically as “forward-looking

  statements” when made, and there were no meaningful cautionary statements identifying

  important factors that could cause actual results to differ materially from those in the purportedly

  forward-looking statements.

         363.    In the alternative, to the extent that the statutory safe harbor is determined to

  apply to any forward-looking statements pleaded herein, Defendants are liable for those forward-

  looking statements because at the time each such statement was made, the speaker had actual

  knowledge, or recklessly disregarded the risk, that the forward-looking statement was materially

  false or misleading, and/or the forward-looking statement was authorized or approved by an

  executive officer of GSX who knew, or recklessly disregarded the risk, that the statement was

  false when made.

                                          XI.    COUNT ONE

  For Violations of Section 10(b) of the Securities Exchange Act of 1934 and SEC Rule 10b–5
                          (Against Defendants—GSX, Chen and Shen)

         364.    Plaintiffs repeat, reallege, and incorporate by reference each and every allegation

  heretofore pleaded as if fully set forth herein.

         365.    Throughout the Class Period, GSX’s securities were listed on the New York

  Stock Exchange.

         366.    During the Class Period, the Defendants made, disseminated, or approved the

  false and misleading statements specified above. The Defendants knew that such statements,

  when made, were false and misleading, or were reckless in their disregard as to the truth of such

  statements, which contained material misrepresentations and failed to disclose material facts

  necessary in order to make the statements made, in light of the circumstances under which they

  were made, not misleading.



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         367.    The Defendants violated Section 10(b) of the Exchange Act of 1934, codified as

  amended, 15 U.S.C. § 78j(b) and SEC Rule 10b–5, codified as amended, 17 C.F.R. § 240.10b–5,

  because, in utilizing the means or instrumentalities of interstate and foreign commerce, including

  but not limited to the mails and the Internet, and/or the facilities of the New York Stock

  Exchange, they directly or indirectly:

                 (a)     employed devices, schemes or artifices to defraud;

                 (b)     made untrue statements of material fact or omitted to state material facts

  necessary in order to make the statements made, in light of the circumstances under which they

  were made, not misleading; and/or

                 (c)     engaged in acts, practices, practices, and a course of business that operated

  as a fraud or deceit upon Plaintiffs and the members of the Class in connection with their

  purchases of GSX securities during the Class Period.

         368.    Plaintiffs and members of the Class have suffered damages in that, in reliance on

  the Defendants’ statements and the integrity of the market, they paid artificially inflated prices

  for GSX’s securities. Plaintiffs and members of the Class would not have purchased such

  securities at the prices they paid, or at all, if they had been aware that the market prices of GSX’s

  securities had been artificially and falsely inflated by the Defendants’ false and misleading

  statements.

         369.    As a direct and proximate result of the Defendants’ wrongful conduct, Plaintiffs

  and members of the Class suffered damages in connection with their purchases of GSX’s

  securities on the New York Stock Exchange during the Class Period.




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                                        XII.     COUNT TWO

              For Violations of Section 20(a) of the Securities Exchange Act of 1934
            (Brought by Plaintiffs against the Individual Defendants—Chen and Shen)

         370.    Plaintiffs repeat, reallege, and incorporate by reference each and every allegation

  heretofore pleaded as if fully set forth herein.

         371.    Throughout the Class Period, GSX’s securities were listed on the New York

  Stock Exchange.

         372.    As alleged herein, the Individual Defendants acted as controlling persons of GSX

  within the meaning of Section 20(a) of the Exchange Act of 1934, codified as amended, 15

  U.S.C. § 78t(a). By virtue of their high-level positions, ownership rights, contractual rights,

  participation in and/or awareness of the Company’s operations, and/or intimate knowledge of the

  false financial statements filed by the Company with the SEC and disseminated to the investing

  public, the Individual Defendants had the power to influence and control, and did influence and

  control, directly or indirectly, the decision-making of the Company, including the content and

  dissemination of the various statements which Plaintiffs contends are false and misleading. The

  Individual Defendants were provided with or had unlimited access to copies of the Company’s

  reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading

  prior to and/or shortly after these statements were issued and had the ability to prevent the

  issuance of the statements or cause the statements to be corrected.

         373.    In particular, each of these Individual Defendants had direct and supervisory

  involvement in the quotidian operations of the Company and, therefore, is presumed to have had

  the power to control or influence the particular transactions giving rise to the securities violations

  as alleged herein, and exercised the same.




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         374.    As set forth above, the Defendants each violated Section 10(b) of the Exchange

  Act of 1934 and SEC Rule 10b–5 by their acts and/or omissions as alleged in this Amended

  Complaint. By virtue of their positions as controlling persons, the Individual Defendants are

  liable pursuant to Section 20(a) of said Act. As a direct and proximate result of the Individual

  Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages in

  connection with their purchases of the Company’s securities traded on the New York Stock

  Exchange during the Class Period.

                                 XIII.    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

         A.      Determining that this action may be maintained as a class action under Rule 23 of

  the Federal Rules of Civil Procedure;

         B.      Awarding compensatory damages in favor of Plaintiffs and the other members of

  the Class against all Defendants, jointly and severally, for all damages sustained as a result of

  Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

         C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

  investigating, bringing, and maintaining this action, including counsel fees and expert fees; and

         D.      Awarding such other and further legal or equitable relief as the Court deems just

  and proper.

                              XIV.       JURY TRIAL DEMANDED

         Plaintiffs hereby demand a trial by jury on all issues so triable in this Action.




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  Dated: April 25, 2023                 Respectfully submitted,

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